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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

S&P GLOBAL INC. and STANDARD &             )
POOR’S FINANCIAL SERVICES LLC,             )
                                           )
         Plaintiffs,                       )      C.A. No. 20-701-RGA
                                           )
                 v.                        )
                                           )
S&P DATA LLC, S&P DATA OHIO LLC,           )
S&P DATA MICHIGAN LLC and                  )
S&P DATA NEW MEXICO LLC,                   )
                                           )
         Defendants.                       )



                            [PROPOSED] PRETRIAL ORDER


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                                PROPOSED PRETRIAL ORDER

         Plaintiffs S&P Global Inc. and Standard & Poor’s Financial Services LLC (“S&P” or

“Plaintiffs”) and Defendants S&P Data LLC, S&P Data Ohio LLC, S&P Data Michigan LLC,

and S&P Data New Mexico, d/b/a S&P Data Digital (collectively, “S&P Data,” or “Defendants”)

jointly submit this Proposed Pretrial Order Pursuant to Local Rule 16.3. The pretrial conference

is scheduled for February 18, 2022. A three-day bench trial is scheduled to begin on March 14,

2022.

         The parties’ respective portions of this Pretrial Order are based upon the current status of

the case. The parties reserve the right to modify, supplement, or change this statement in light of

further rulings by the Court or as otherwise appropriate.

         The following matters as to the conduct of the trial are hereby ordered by the Court.

I.       NATURE OF THE ACTION, PLEADINGS AND COUNTERCLAIMS

         1.      On May 26, 2020, S&P filed its Complaint (D.I. 1) alleging that S&P Data

infringed and diluted S&P’s famous family of S&P Marks under federal and state law; and

violated the Delaware Deceptive Trade Practices Act and the common law of unfair competition

under Delaware law.

         2.      On August 3, 2020, S&P Data filed its Answer, Defenses, and Counterclaim (D.I.

11), denying liability for Plaintiffs’ claims and asserting affirmative defenses of failure to state a

claim upon which relief may be granted; no infringement; equitable defenses of laches, waiver,

and acquiescence; statute of limitations; prior rights; and no damages, and seeking a declaratory

judgment that S&P Data could not infringe U.S. Reg. No. 4380744, under Section 32(1) of the

Lanham Act, 15 U.S.C. § 1114(1), because the Trademark Office cancelled that registration.




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         3.      On August 11, 2020, S&P filed its First Amended Complaint (D.I. 14), removing

all allegations as to the S&P INDICES mark, U.S. Reg. No. 4380744, but otherwise asserting the

same causes of action. The First Amended Complaint is the operative complaint in this action.

         4.      On August 25, 2020, S&P Data filed its Answer and Defenses (D.I. 19) to the

First Amended Complaint, denying liability for Plaintiffs’ claims and asserting affirmative

defenses of failure to state a claim upon which relief may be granted; no infringement; equitable

defenses of laches, waiver, and acquiescence; statute of limitations; prior rights; and no damages.

         5.      On October 19, 2021, the parties filed the following motions:

                 A.     S&P’s motion to exclude portions of the expert report and testimony of

Dr. Larry Chiagouris, S&P Data’s rebuttal witness to S&P’s expert, Hal Poret (D.I. 89).

                 B.     S&P Data’s motion for partial summary judgment on the basis that

(1) S&P’s claims for common law unfair competition and violations of Delaware’s Deceptive

Trade Practice Act and Trademark Dilution and Injury to Business Reputation statute were

barred by the statute of limitations; and (2) the cancellation of S&P’s S&P INDICES mark (U.S.

Reg. No. 3889706) entitled S&P Data to a declaration of non-infringement of that mark

(D.I. 94).

         6.      On February 3, 2022, by Oral Order, the Court denied S&P’s motion to exclude

portions of the expert report and testimony of Dr. Larry Chiagouris, (D.I. 89) without prejudice

to S&P raising specific objections to the report and testimony at or before trial.

         7.      On February 3, 2022, by Oral Order, the Court denied S&P Data’s motion for

partial summary judgment seeking dismissal of S&P’s state-law claims as barred by the statute

of limitations. The Court indicated that it did not need to rule on S&P Data’s motion for partial

summary judgment concerning non-infringement of S&P’s S&P INDICES mark (U.S. Reg. No.


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3889706) given the parties’ agreement that relief was no longer being sought based on such mark

in view of its cancellation.

II.      BASIS FOR FEDERAL JURISDICTION

         8.      S&P states that the Court has jurisdiction over its claims for violation of 15

U.S.C. §§ 1114(1), 1125(a), and 1125(c) under the Lanham Act, 15, U.S.C. §1051, et seq.,

pursuant to 15 U.S.C. § 1121 and 28 U.S.C. §§ 1331 and 1338. S&P further asserts that the

Court has jurisdiction over the parties’ state law claims pursuant to 28 U.S.C. §1367.

III.     STATEMENT OF FACTS THAT ARE ADMITTED AND
         REQUIRE NO PROOF

PARTIES

         Plaintiffs

         9.      Plaintiff S&P Global Inc. is a New York corporation with its principal place of

business at 55 Water Street, New York, New York 10041.

         10.     Plaintiff Standard & Poor’s Financial Services LLC is a Delaware limited liability

company with its principal place of business at 55 Water Street, New York, New York 10041,

and is a wholly owned subsidiary of S&P Global Inc.

         Defendants

         11.     Defendant S&P Data LLC is a Delaware limited liability company with its

principal place of business at 1500 West 3rd Street, Cleveland, Ohio 44113.

         12.     Defendant S&P Data Ohio LLC is a Delaware limited liability company with its

principal place of business at 1500 West 3rd Street, Cleveland, Ohio 44113, and is a wholly

owned subsidiary of S&P Data LLC.




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         13.     Defendant S&P Data Michigan LLC is a Delaware limited liability company with

its principal place of business at 1500 West 3rd Street, Cleveland, Ohio 44113, and is a wholly

owned subsidiary of S&P Data LLC.

         14.     Defendant S&P Data New Mexico LLC is a Delaware limited liability company

with its principal place of business at 1500 West 3rd Street, Cleveland, Ohio 44113, and is a

wholly owned subsidiary of S&P Data LLC.

PLAINTIFFS’ BUSINESS AND THE S&P MARKS

         15.     In 1957, S&P introduced the S&P 500 stock index, which comprises 500 large

companies listed on stock exchanges in the United States.

         16.     S&P owns the following U.S. federal registrations:

                       Mark                  Reg. No.                 Goods & Services

 S&P                                        3569703     Cl. 35 Providing financial indices in the
                                                        nature of quantitative measurements to
                                                        evaluate investments, market trends and
                                                        financial instruments

 S&P 100                                    1517924     Cl. 36 Providing financial and
                                                        investment services

 S&P 1000                                   2746375     Cl. 36 Providing financial and
                                                        investment information services;
                                                        namely, trading analysis and financial
                                                        information based on a stock index

 S&P 500                                    1521758     Cl. 16 Newsletters on finance and
                                                        investing

                                                        Cl. 36 Providing financial and
                                                        investment services

 S&P 500 CATHOLIC VALUES                    5064982     Cl. 35 Providing financial indices based
 INDEX                                                  on selected groups of securities;
                                                        providing and updating a financial index



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                       Mark       Reg. No.              Goods & Services

 S&P 500 DYNAMIC VEQTOR           5173899    Cl. 36 Providing financial indices based
 INDEX                                       on selected groups of securities

 S&P 500 LOW VOLATILITY INDEX     4219317    Cl. 36 Providing and updating a
                                             financial index

 S&P 500 VEQTOR                   5125031    Cl. 35 Providing and updating financial
                                             indices

 S&P AGGREGATE                    4956810    Cl. 35 Providing and updating a fixed
                                             income financial index


 S&P CAPITAL IQ                   4667902    Cl. 9 Computer software for accessing
                                             and manipulating data in a financial
                                             database, creating customized financial
                                             models, charts, analyses and reports
                                             based on a financial database; computer
                                             software that performs risk portfolio
                                             analytics; computer software that
                                             performs quantitative risk analysis

                                             Cl. 35 Providing on-line retail store
                                             services featuring software applications
                                             in the field of financial-related data and
                                             company data over a global computer
                                             network; business consulting in the
                                             nature of providing merger and
                                             acquisition support services in the field
                                             of business; acquisition and merger
                                             consultation


                                             Cl. 36 Financial services provided over
                                             a global computer network, namely,
                                             commercial and investment banking;
                                             private equity and venture capital
                                             funding; investment services, namely,
                                             financial investment and investment
                                             consultation in the fields of funds,
                                             mutual funds, real estate, commodity,
                                             capital, securities, bonds, annuities;
                                             financial consulting in the nature of
                                             providing merger and acquisition

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                       Mark       Reg. No.              Goods & Services

                                             support services in the field of finance;
                                             providing an on-line electronic database
                                             over a global network in the field of
                                             financial information; securities
                                             valuation services; providing real-time
                                             financial market data; commodities and
                                             data pricing

                                             Cl. 41 Providing on-line publications in
                                             the nature of electronic books,
                                             magazines, and newsletters in the field
                                             of finance

                                             Cl. 42 Providing temporary use of
                                             online non-downloadable software for
                                             providing access to streaming quotes,
                                             news, charts and market views for use
                                             by the financial industry

 S&P CHINA 500                    5358107    Cl. 35 Providing a financial index based
                                             on selected groups of securities;
                                             providing and updating a financial
                                             index; providing a financial index
                                             consisting of stocks that reflect the
                                             performance of the market that the index
                                             measures

 S&P COMPOSITE 1500               3334728    Cl. 35 Providing a financial index
                                             consisting of stocks that reflect the
                                             performance of markets the index
                                             measures

 S&P GIVI                         4203753    Cl. 36 Financial and investment
                                             information services, namely, trading
                                             analysis and financial information

 S&P GLOBAL                       5800653    Cl 9: Downloadable computer software
                                             and mobile application software for
                                             accessing general news, business and
                                             financial information, financial indices,
                                             financial and credit ratings, market
                                             research, data analytics, stock prices,
                                             equity research, investment funds, risk


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                       Mark       Reg. No.              Goods & Services

                                             solutions, investment data, and
                                             information concerning energy,
                                             commodities, metal pricing
                                             and metal market data, shipping,
                                             contracting, product and services
                                             ratings, and the financial, electronics,
                                             healthcare, homes, insurance,
                                             telecommunications, travel, and
                                             consumer products industries; Computer
                                             software for accessing and manipulating
                                             data in a financial database, and creating
                                             customized financial models, charts,
                                             analyses, and reports based on a
                                             financial database; Computer software
                                             that performs risk portfolio analytics
                                             and quantitative risk analyses;

                                             Cl 16: Trade magazines, pamphlets,
                                             brochures, and newsletters concerning
                                             general news, business and financial
                                             information, financial indices, financial
                                             and credit ratings, market research, data
                                             analytics, stock prices, equity research,
                                             investment funds, risk solutions,
                                             investment data, and information
                                             concerning energy, commodities, metal
                                             pricing and metal market data, shipping,
                                             contracting, product and services
                                             ratings, and the financial, electronics,
                                             healthcare, homes, insurance,
                                             telecommunications, travel, and
                                             consumer products industries;

                                             Cl 35: Business information, advisory,
                                             and consultation services; Arranging
                                             and conducting business conferences,
                                             workshops, and exhibitions concerning
                                             general news, business and financial
                                             information, financial indices, financial
                                             and credit ratings, market research, data
                                             analytics, stock prices, equity research,
                                             investment funds, risk solutions,
                                             investment data, and information
                                             concerning energy, commodities,

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                       Mark        Reg. No.              Goods & Services

                                              shipping, contracting, product and
                                              services ratings, and the financial,
                                              electronics, healthcare, homes,
                                              insurance, telecommunications, travel,
                                              and consumer products industries;
                                              Providing business information online
                                              concerning general news, business and
                                              financial information, financial
                                              indices, financial and credit ratings,
                                              market research, data analytics, stock
                                              prices, equity research, investment
                                              funds, risk solutions, and investment
                                              data, and information concerning
                                              energy, commodities, metal pricing and
                                              metal market data, shipping,
                                              contracting, product and services
                                              ratings, and the financial, electronics,
                                              healthcare, homes, insurance,
                                              telecommunications, travel, and
                                              consumer products industries; Market
                                              research relating to general news,
                                              business and financial information,
                                              financial indices, financial and credit
                                              ratings, data analytics, stock prices,
                                              equity research, investment funds, risk
                                              solutions, investment data, and
                                              information concerning energy,
                                              commodities, metal pricing and metal
                                              market data, shipping, contracting, and
                                              the financial, electronics, healthcare,
                                              homes, insurance, telecommunications,
                                              travel, and consumer products
                                              industries; Conducting
                                              business and market research surveys;
                                              Providing on-line retail store services
                                              featuring software applications in the
                                              field of financial-related data and
                                              company data over a global
                                              computer network; Providing
                                              information, news and commentary in
                                              the field of business on the subjects of
                                              commodities, energy, metals, and
                                              energy generation and production
                                              industries; Providing online information,

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                       Mark        Reg. No.              Goods & Services

                                              news and commentary in the field of
                                              business on the subjects of commodities,
                                              energy, metals, and energy generation
                                              and production industries; Providing
                                              information and news in the field of
                                              business, namely, providing real-time
                                              information concerning the financial
                                              markets, financial indices, and financial
                                              ratings; Price comparing services in the
                                              field of commodities;

                                              Cl 36: Providing financial information,
                                              namely, information in the field of stock
                                              indices, securities indices, commodities
                                              indices, and other financial indices;
                                              Providing financial analyses and ratings
                                              of securities, investment funds, bonds,
                                              institutions, governments, and
                                              other financial instruments regarding
                                              performance, creditworthiness, risk
                                              assessments, and other characteristics;
                                              Providing information, studies, quality
                                              ratings, and opinions concerning
                                              investment funds; Providing
                                              information, studies, quality ratings, and
                                              opinions concerning the
                                              creditworthiness, performance, and
                                              other characteristics of debt instruments
                                              and commercial paper, namely, bonds,
                                              debentures, shares, warrants, options,
                                              investment certificates, and notes
                                              of corporations, governments,
                                              municipalities, public utilities, financial
                                              institutions, and other issuers; Providing
                                              financial and investment information via
                                              on-line computer databases;
                                              Financial and investment information
                                              services, research services, data and data
                                              analytic services, and financial analyses;
                                              Providing real-time information relating
                                              to the financial markets; Providing
                                              financial information, research,
                                              analytics, and analyses regarding


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                       Mark        Reg. No.              Goods & Services

                                              companies, industries, and countries;
                                              Providing financial information and data
                                              in support of merger and acquisition
                                              activities; Financial risk management
                                              services; Pricing of commodities,
                                              namely, commodity quotations;
                                              Securities valuation services; Financial
                                              and investment consultation and
                                              advisory services; Investment services,
                                              namely, investment consultation in the
                                              fields of funds, mutual funds, real estate,
                                              commodities, capital, securities,
                                              bonds, and annuities; Providing
                                              financial information, namely, news in
                                              the field of financial information on
                                              commodities, energy, metals, and
                                              energy generation and production
                                              industries; Providing online financial
                                              information, namely, news in the field
                                              of financial information on
                                              commodities, energy, metals, and
                                              energy generation and production
                                              industries; News reporting services in
                                              the field of financial news, namely,
                                              providing real-time information
                                              concerning the financial markets,
                                              financial indices, and financial ratings;

                                              Cl 40: Providing information on the
                                              production of energy, the treatment of
                                              metals, and custom manufacturing of
                                              commodities;
                                              Cl 41: Providing a website containing
                                              non-downloadable articles and reports
                                              concerning general news, business and
                                              financial information, financial indices,
                                              financial and credit ratings, market
                                              research, data analytics, stock prices,
                                              equity research, investment funds, risk
                                              solutions, investment data, and
                                              information concerning energy,
                                              commodities, metal pricing
                                              and metal market data, shipping,
                                              contracting, product and services

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                       Mark        Reg. No.              Goods & Services

                                              ratings, and the financial, electronics,
                                              healthcare, homes, insurance,
                                              telecommunications, travel, and
                                              consumer products industries; Providing
                                              on-line publications in the nature of
                                              electronic books, magazines, and
                                              newsletters concerning the financial
                                              markets, financial indices, and financial
                                              ratings

                                              Cl 42: Providing online non-
                                              downloadable software in connection
                                              with ratings of securities, investment
                                              funds, bonds, institutions, governments,
                                              and other financial instruments;
                                              Providing online non-downloadable
                                              software for tracking the performance of
                                              stock indices, securities indices,
                                              commodities indices, other financial
                                              indices, financial investments,
                                              securities, companies, and institutions;
                                              Providing temporary use of online
                                              nondownloadable software for
                                              providing access to streaming quotes,
                                              news, charts, and market views for use
                                              by the financial industry; Providing
                                              online non-downloadable software to
                                              measure, monitor, and manage credit
                                              risk, processes, and infrastructure by
                                              providing centralized data management,
                                              spreading, forecasting, and risk rating
                                              assessments


  S&P GLOBAL MARKET                5649623    Cl 9: Downloadable computer software
  INTELLIGENCE                                and mobile applications for accessing
                                              general news, business and financial
                                              information, financial indices, financial
                                              and credit ratings, interest rates, market
                                              research, demographic and
                                              unemployment data, data analytics,
                                              stock prices, capital structure, corporate
                                              structure, officer data and executive
                                              compensation, equity research,

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                       Mark        Reg. No.              Goods & Services

                                              investment funds, portfolio and risk
                                              solutions, country risk data, investment
                                              data, thrift data, mergers and
                                              acquisitions, and data, news, research,
                                              and analysis concerning energy,
                                              commodities, REITs, media, utilities,
                                              entertainment communications, and the
                                              banking and financial services, real
                                              estate, insurance, media and
                                              communications, metals and mining,
                                              and energy industries; Computer
                                              software and mobile application
                                              software for accessing and manipulating
                                              data in a financial database, and creating
                                              customized financial models, charts,
                                              analyses, and reports based on a
                                              financial database; Computer software
                                              that performs risk portfolio analytics
                                              and quantitative risk analyses;
                                              Downloadable computer software for
                                              use in the quantitative modeling of
                                              single stock and equity portfolios
                                              including historical back testing, excess
                                              returns forecasting, and portfolio
                                              simulation and optimization;
                                              Downloadable computer software for
                                              analyzing default, transition, ratings,
                                              and recovery data for professionals in
                                              the financial services industry in
                                              connection with risk management;
                                              Downloadable computer software for
                                              use in the fields of market data
                                              integration and management, proprietary
                                              workflow creation, proprietary
                                              statistical/computational algorithms, risk
                                              model development, forecast model
                                              development, strategy script
                                              development, optimization practices,
                                              and quantitative research and risk
                                              management solutions; Downloadable
                                              articles and reports concerning general
                                              news, business and financial
                                              information, financial indices, financial
                                              and credit ratings, interest rates, market

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                       Mark        Reg. No.              Goods & Services

                                              research, demographic and
                                              unemployment data, data analytics,
                                              stock prices, capital structure, corporate
                                              structure, officer data and executive
                                              compensation, equity research,
                                              investment funds, portfolio and risk
                                              solutions, country risk data, investment
                                              data, thrift data, mergers and
                                              acquisitions, and data, news, research,
                                              and analysis concerning energy,
                                              commodities, REITs, media, utilities,
                                              entertainment communications, and the
                                              banking and financial services, real
                                              estate, insurance, media and
                                              communications, metals and mining,
                                              and energy industries; Downloadable
                                              electronic publications in the nature of
                                              reports featuring credit adjusted
                                              financial statement data and
                                              commentaries

                                              Cl. 16: Trade magazines, pamphlets,
                                              brochures, and newsletters concerning
                                              general news, business and financial
                                              information, financial indices, financial
                                              and credit ratings, interest rates, market
                                              research, demographic and
                                              unemployment data, data analytics,
                                              stock prices, capital structure, corporate
                                              structure, officer data and executive
                                              compensation, equity research,
                                              investment funds, portfolio and risk
                                              solutions, country risk data, investment
                                              data, thrift data, mergers and
                                              acquisitions, and data, news, research,
                                              and analysis concerning energy,
                                              commodities, REITs, media, utilities,
                                              entertainment communications, and the
                                              banking and financial services, real
                                              estate, insurance, media and
                                              communications, metals and mining,
                                              and energy industries; Newsletters
                                              covering ratings of debt securities


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                       Mark        Reg. No.              Goods & Services

                                              Cl 35: Business information, advisory,
                                              and consultation services; Arranging
                                              and conducting business conferences,
                                              workshops, and exhibitions concerning
                                              general news, business and financial
                                              information, financial indices, financial
                                              and credit ratings, market research, data
                                              analytics, stock prices, equity research,
                                              investment funds, risk solutions,
                                              investment data, and information
                                              concerning energy, commodities,
                                              shipping, contracting,
                                              product and services ratings, and the
                                              financial, automotive, boating,
                                              electronics, healthcare, homes,
                                              insurance, telecommunications, travel,
                                              and consumer products industries;
                                              Providing business information online
                                              concerning general news, business and
                                              financial information, financial indices,
                                              financial and credit ratings, market
                                              research, data analytics, stock prices,
                                              equity research, investment funds, risk
                                              solutions, and investment data, and
                                              information concerning energy,
                                              commodities, metal pricing and metal
                                              market data, shipping, contracting,
                                              product and services ratings, and the
                                              financial, automotive, boating,
                                              electronics, healthcare, homes,
                                              insurance, telecommunications, travel,
                                              and consumer products industries;
                                              Market research relating to general
                                              news, business and financial
                                              information, financial indices, financial
                                              and credit ratings, data analytics, stock
                                              prices, equity research, investment
                                              funds, risk solutions, investment data,
                                              and information concerning energy,
                                              commodities, metal pricing and metal
                                              market data, shipping, contracting, and
                                              the financial, automotive, boating,
                                              electronics, healthcare, homes,
                                              insurance, telecommunications, travel,

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                       Mark        Reg. No.              Goods & Services

                                              and consumer products industries;
                                              Conducting business and market
                                              research surveys; Providing on-line
                                              retail store services featuring software
                                              applications in the field of financial-
                                              related data and company data over a
                                              global computer network; Providing
                                              information, news and commentary in
                                              the field of business on the subjects of
                                              commodities, energy, metals, and
                                              energy generation and production
                                              industries; Providing online information,
                                              news and commentary in the field of
                                              business on the subjects of commodities,
                                              energy, metals, and energy generation
                                              and production industries; Providing
                                              information and news in the field of
                                              business, namely, providing real-time
                                              information concerning the financial
                                              markets, financial indices, and financial
                                              ratings

                                              Cl 36: Providing financial information,
                                              namely, information in the field of stock
                                              indices, securities indices, commodities
                                              indices, and other financial indices;
                                              Providing financial analyses and ratings
                                              of securities, investment funds, bonds,
                                              institutions, governments, and other
                                              financial instruments regarding
                                              performance, creditworthiness, risk
                                              assessments, and other characteristics;
                                              Providing information, studies, quality
                                              ratings, and opinions concerning
                                              investment funds; Providing nformation,
                                              studies, quality ratings, and opinions
                                              concerning the creditworthiness,
                                              performance, and other characteristics
                                              of debt instruments and commercial
                                              paper, namely, bonds, debentures,
                                              shares, warrants, options, investment
                                              certificates, and notes of corporations,
                                              governments, municipalities, public
                                              utilities, financial institutions, and other

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                       Mark        Reg. No.              Goods & Services

                                              issuers; Providing financial and
                                              investment information via on-line
                                              computer databases; Financial and
                                              investment information services,
                                              research services, data and data analytic
                                              services, and financial analyses;
                                              Providing real-time information relating
                                              to the financial markets; Providing
                                              financial information, research,
                                              analytics, and analyses regarding
                                              companies, industries, and countries;
                                              Providing financial information and data
                                              in support of merger and acquisition
                                              activities; Financial risk management
                                              services; Financial and investment
                                              consultation and advisory services;
                                              Investment services, namely, investment
                                              consultation in the fields of funds,
                                              mutual funds, real estate, commodities,
                                              capital, securities, bonds, and annuities;
                                              Providing financial information
                                              regarding rating changes that affect
                                              financial portfolios via e-mail
                                              notification alerts; Providing credit
                                              ratings and financial news and
                                              information via an internet website;
                                              Financial services, namely, providing
                                              investment research and information
                                              online regarding equity capital markets,
                                              structured finance transactions, and
                                              collateralized debt transactions;
                                              Financial services, namely, providing
                                              financial analyses, financial analytics,
                                              recovery-trend platforms, financial
                                              industry data, financial ratings, debt
                                              analyses, performance analyses, risk
                                              assessment scenario and trend analyses,
                                              and information on credit and loan
                                              losses and loss-given default; Online
                                              financial data services, namely,
                                              providing comprehensive reference data
                                              matching services to market
                                              participants linking industry standard
                                              identifiers for domestic and global

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                       Mark        Reg. No.              Goods & Services

                                              securities, issuers, counter-party
                                              corporate hierarchies, business entities,
                                              and reference data sets; Financial
                                              services in the nature of assessing the
                                              risk profile of a specific security on a
                                              peer group comparison basis and
                                              providing qualitative research opinions
                                              that interpret the risk profile of a
                                              specific security on a peer group
                                              comparison basis; Providing financial
                                              information, namely, news in the field
                                              of financial information on
                                              commodities, energy, metals, and
                                              energy generation and production
                                              industries; Providing online financial
                                              information, namely, news in the field
                                              of financial information on
                                              commodities, energy, metals, and
                                              energy generation and production
                                              industries; News reporting services in
                                              the field of financial news, namely,
                                              providing real-time information
                                              concerning the financial markets,
                                              financial indices, and financial ratings

                                              Cl 38: Communications via computer
                                              terminals or via fiber-optic networks;
                                              Providing user access to a global
                                              computer network; Providing
                                              telecommunications connections to a
                                              global computer network; Providing
                                              access to an online platform and
                                              database featuring management tools
                                              and solutions for investor relations,
                                              financial news, information,
                                              commentary, and analyses, including
                                              market data, investor activities and
                                              investment trends, news, quotes, global
                                              indices, alerts, broker research reports,
                                              independent research reports, analyst
                                              information, financial transaction
                                              reports, reports of corporate, state, and
                                              SEC filings, institutional holdings data,
                                              portfolio holdings data, corporate

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                       Mark        Reg. No.              Goods & Services

                                              ownership profiles, calendars of
                                              company corporate events, global
                                              financial market statistics and forecasts,
                                              corporate finance and capital markets
                                              activity, mergers and acquisitions,
                                              financial investment activities, and
                                              financial restructuring data;
                                              Telecommunication services, namely,
                                              providing e-mail notification alerts via
                                              the internet of rating changes that affect
                                              financial portfolios

                                              Cl 40: Providing information on the
                                              production of energy, the treatment of
                                              metals, and custom manufacturing of
                                              commodities

                                              Cl 41: Providing on-line publications in
                                              the nature of electronic books,
                                              magazines, and newsletters concerning
                                              the financial markets, financial indices,
                                              and financial ratings; Educational
                                              services, namely, providing training on
                                              quantitative research platforms;
                                              Providing an online electronic
                                              newsletter containing articles of
                                              importance concerning credit markets;
                                              Providing on-line publications in the
                                              nature of reports featuring credit
                                              adjusted financial statement data and
                                              commentaries; Arranging and
                                              conducting educational conferences and
                                              workshops relating to banking,
                                              insurance, real estate, energy, media,
                                              communications, metals, and mining;
                                              providing recognition and incentives by
                                              the way of awards to demonstrate
                                              excellence in the field of customer
                                              product satisfaction rankings

                                              Cl 42: Providing online non-
                                              downloadable software in connection
                                              with ratings of securities, investment
                                              funds, bonds, institutions, governments,

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                       Mark        Reg. No.              Goods & Services

                                              and other financial instruments;
                                              Providing online non-downloadable
                                              software for tracking the performance of
                                              stock indices, securities indices,
                                              commodities indices, other financial
                                              indices, financial investments,
                                              securities, companies, and institutions;
                                              Providing temporary use of online
                                              nondownloadable software for
                                              providing access to streaming quotes,
                                              news, charts, and market views for use
                                              by the financial industry, and structured-
                                              finance transaction data; Providing
                                              online non-downloadable software to
                                              measure, monitor, and manage credit
                                              risk, processes, and infrastructure by
                                              providing centralized data management,
                                              spreading, forecasting, and risk rating
                                              assessments; Design, development,
                                              installation, maintenance, updating, and
                                              rental of software; Providing on-line,
                                              non-downloadable software for
                                              searching a database of financial ratings
                                              and creating customized financial
                                              portfolios and reports; Computer
                                              services, namely, computer
                                              programming for others, software
                                              development and computer consulting
                                              services in the fields of market data
                                              integration and management, proprietary
                                              workflow creation, proprietary
                                              statistical/computational algorithms, risk
                                              model development, forecast model
                                              development, strategy script
                                              development, optimization practices and
                                              quantitative research and risk
                                              management solutions; Providing an on-
                                              line web-based application for analyzing
                                              default, transition, ratings, and recovery
                                              data for professionals in the financial
                                              services industry in connection with risk
                                              management; Design and development
                                              of computer hardware and software;
                                              Technical project studies, namely,

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                       Mark        Reg. No.              Goods & Services

                                              conducting feasibility studies and
                                              technical studies in the fields of
                                              software and computer hardware design
                                              and implementation; Providing non-
                                              downloadable computer software via a
                                              website that assesses the risk profile of a
                                              specific security on a peer group
                                              comparison basis; Providing a website
                                              featuring on-line non-downloadable
                                              software that enables users to access
                                              general news, business and financial
                                              information, financial indices, financial
                                              and credit ratings, interest rates, market
                                              research, demographic and
                                              unemployment data, data analytics,
                                              stock prices, capital structure, corporate
                                              structure, officer data and executive
                                              compensation, equity research,
                                              investment funds, portfolio and risk
                                              solutions, country risk data, investment
                                              data, thrift data, mergers and
                                              acquisitions, and data, news, research,
                                              and analysis concerning energy,
                                              commodities, REITs, media, utilities,
                                              entertainment communications, and the
                                              banking and financial services, real
                                              estate, insurance, media and
                                              communications, metals and mining,
                                              and energy industries




  S&P HIGH YIELD DIVIDEND          3290686    Cl. 35 Providing a financial index
  ARISTOCRATS                                 consisting of stocks that reflect the
                                              performance of markets the index
                                              measures

  S&P LTVC GLOBAL INDEX            5299430    Cl. 35 Providing a financial index based
                                              on selected groups of securities;
                                              providing and updating a financial
                                              index; providing a financial index
                                              consisting of stocks that reflect the

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                       Mark        Reg. No.              Goods & Services

                                              performance of markets the index
                                              measures

  S&P MIDCAP 400                   3727781    Cl. 36 Providing a financial index

  S&P PRISM                        5711193    Cl. 35 Providing and updating a
                                              financial index; providing and updating
                                              a multi-asset financial and commodities
                                              index

  S&P SMALLCAP 600                 3727779    Cl. 36 Providing a financial index

  S&P STRIDE                       5004731    Cl. 36 Financial and investment
                                              information services, namely, trading
                                              analysis and financial information;
                                              financial analysis and research services;
                                              calculating and providing financial
                                              indices

  S&P STRIDE TIPS-LOCKBOX          5192112    Cl. 36 Financial and investment
                                              information services, namely, trading
                                              analysis and financial information;
                                              financial analysis and research services;
                                              Cl. 35 Calculating and providing
                                              financial indices based on selected
                                              groups of securities

  S&P U.S. RETIREE SPENDING        5358311    Cl. 35 Providing a financial index based
  INDEX                                       on selected groups of securities;
                                              providing and updating a financial
                                              index; providing a financial index
                                              consisting of stocks and fixed-income
                                              investments that reflect the performance
                                              of the market that the index measures

  S&P VEQTOR                       5125032    Cl. 35 Providing and updating financial
                                              indices


  S&P WCI                          3975798    Cl. 35 Providing a commodities index
                                              based on a select group of commodity
                                              futures contracts



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 DEFENDANTS’ BUSINESS AND THEIR ADOPTION OF THE S&P DATA MARK

         17.     S&P Data is engaged in the business of providing outsourced contact center

 services. The contact centers S&P Data operates provide various services to clients, which have

 outsourced certain business functions to S&P Data.

         18.     S&P Data, LLC is owned by three individuals: Dan Plashkes, David Borts and

 Ken Crema.

 IV.     STATEMENT OF ISSUES OF FACT THAT REMAIN TO BE LITIGATED

         19.     The parties identify the following issues of fact that remain to be litigated. If any

 issue identified in this statement of the issues of fact is more properly considered an issue of law,

 it should be so considered. Likewise, should the Court determine that any issues identified in the

 parties’ statement of the issues of law are more appropriately considered issues of fact, those

 issues are incorporated herein by reference. By including an issue of fact herein, the parties do

 not assume the burden of proof or production with regard to that issue of fact. The parties’

 identification of issues of fact that remain to be litigated is based on their understanding of the

 arguments, pleadings, and discovery in the action to date. The parties reserve the right to revise

 this statement in light of the statements of fact or law that remain to be litigated or any revisions

 thereto. The parties also reserve the right to address additional issues not set forth herein to the

 extent they are raised at trial.

         A.      S&P’S STATEMENT OF ISSUES OF FACT THAT REMAIN TO BE
                 LITIGATED

         20.     Whether Plaintiffs’ use of the S&P Marks predates the adoption and use of

 Defendants’ S&P DATA mark.

         21.     Whether Defendants’ use of S&P DATA is similar in terms of sight, sound, and

 meaning with Plaintiffs’ use of the S&P Marks.

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         22.     Whether Plaintiffs’ S&P Marks are inherently strong and have acquired

 distinctiveness.

         23.     Whether Plaintiffs have made substantially exclusive use of the S&P Marks.

         24.     Whether the S&P Marks are commercially strong, given Plaintiffs’ substantially

 exclusive use in the relevant markets.

         25.     Whether Plaintiffs have spent considerable sums of money in advertising and

 marketing the goods and services sold in connection with the S&P Marks.

         26.     Whether the S&P Marks have for decades been routinely advertised and

 publicized in national advertising outlets throughout the United States.

         27.     Whether Plaintiffs’ sale of goods and services in connection with the S&P Marks

 has yielded significant revenues for Plaintiffs.

         28.     Whether Plaintiffs’ S&P Marks have extensive actual recognition among

 members of the general public in the United States.

         29.     Whether Plaintiffs’ S&P Marks are distinctive and famous and were so prior to

 the date Defendants adopted the S&P DATA mark.

         30.     Whether both professionals and members of the general public are relevant

 consumers of Plaintiffs’ and Defendants’ goods and services.

         31.     Whether the relevant consumers of Plaintiffs’ and Defendants’ goods and services

 are sophisticated and the extent to which any sophistication or care affects potential confusion.

         32.     Whether Plaintiffs’ and Defendants’ goods and services are marketed through the

 same or similar channels of trade.

         33.     Whether Plaintiffs’ and Defendants’ goods and services are advertised through the

 same media.


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         34.     Whether Plaintiffs and Defendants target the same consumers in connection with

 their respective marks.

         35.     Whether there have been examples of actual confusion between Plaintiffs and

 Defendants on account of Defendants’ use of S&P DATA.

         36.     Whether the examples of actual confusion between Plaintiffs and Defendants on

 account of Defendants’ use of the S&P DATA mark is evidence of a likelihood of confusion.

         37.     Whether Defendants intended to create an association between Defendants or

 their S&P DATA mark and Plaintiffs or their S&P Marks.

         38.     Whether Defendants adopted the S&P DATA mark in bad faith given that Mr.

 Plashkes and Mr. Borts were aware that S&P’s predecessor company, McGraw-Hill, had

 previously objected to registration of S&P DATA-formative marks by Mr. Plashkes’ and Mr.

 Borts’ former company.

         39.     Whether Defendants’ awareness of McGraw-Hill’s prior objections caused them

 initially to use the name SP Data, which was the sole name that appeared on the company

 website for many years after the formation of the current defendant by Mr. Plashkes.

         40.     Whether consumers are likely to perceive a relationship between the goods sold

 and services rendered under the S&P Marks and the services rendered under the S&P DATA

 mark.

         41.     Whether the use of the word “DATA,” in connection with the mark S&P, is likely

 to draw a connection or association with S&P in the minds of consumers.

         42.     Whether Defendants’ use of S&P DATA is likely to cause confusion as to the

 source, sponsorship, or affiliation with Plaintiffs or their S&P Marks.




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         43.     Whether Defendants’ use of the name and mark S&P DATA causes a likelihood

 of dilution of the distinctive quality of S&P’s famous S&P Marks.

         44.     Whether any delay by Plaintiffs in initiating suit was so outrageous as to bar

 injunctive relief against Defendants’ infringing use of the S&P DATA mark.

         45.     Whether the doctrine of progressive encroachment excuses any delay by Plaintiffs

 when Defendants initially operated as SP DATA and only later used the name S&P DATA,

 changed their logo over time to emphasize the “S&P” portion of the mark, expanded the

 locations from where they were operating, and further developed their online presence from the

 time when Plaintiffs learned of Defendants.

         46.     Whether Defendants prejudicially relied on Plaintiffs’ delay in bringing suit when

 Defendants have stated that “SP DATA” had greater brand equity in Canada, a third-party

 consultant concluded “S&P DATA” had low awareness in the U.S and recommended that the

 company be renamed, Defendants’ CEO has stated that the “DATA” portion of the mark

 historically was more important than “S&P” and that the memorable portion of the name is

 “DATA,” and SP Data, rather than S&P Data, is a name that Defendants went by for years.

         47.     Whether Plaintiffs rebutted any presumption of laches.

         48.     Whether bad faith adoption and use of S&P Data with knowledge of prior

 objections by Plaintiffs’ predecessor serves to render Defendants’ laches defense inapplicable.

         49.     Whether Defendants’ use of the S&P DATA name and mark will lead to

 inevitable or actual confusion such as to render Defendants’ laches defense inapplicable.




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         50.     Whether S&P is entitled to a permanent injunction against S&P Data’s use,

 advertisement, or exploitation of the name and mark S&P DATA or any other mark confusingly

 similar to Plaintiffs’ S&P Marks.

         B.      S&P DATA’S STATEMENT OF ISSUES OF FACT THAT REMAIN TO
                 BE LITIGATED.

         51.      Whether the S&P, S&P 100, S&P 1000, S&P 500, S&P 500 CATHOLIC

 VALUES INDEX, S&P 500 DYNAMIC VEQTOR INDEX, S&P 500 LOW VOLATILITY

 INDEX, S&P 500 VEQTOR, S&P AGGREGATE, S&P CAPITAL IQ, S&P CHINA 500, S&P

 COMPOSITE 1500, S&P GIVI, S&P GLOBAL, S&P GLOBAL MARKET INTELLIGENCE,

 S&P HIGH YIELD DIVIDEND ARISTOCRATS, S&P LTVC GLOBAL INDEX, S&P

 MIDCAP 400, S&P PRISM, S&P SMALLCAP 600, S&P STRIDE, S&P STRIDE TIPS-

 LOCKBOX, S&P U.S. RETIREE SPENDING INDEX, S&P VEQTOR, and S&P WCI marks

 comprise a single family of marks.

         52.     Whether Plaintiffs’ use of the S&P 500 CATHOLIC VALUES INDEX mark has

 priority over Defendants’ use of the S&P DATA mark.

         53.     Whether Plaintiffs’ use of the S&P 500 DYNAMIC VEQTOR INDEX mark has

 priority over Defendants’ use of the S&P DATA mark.

         54.     Whether Plaintiffs’ use of the S&P 500 LOW VOLATILITY INDEX mark has

 priority over Defendants’ use of the S&P DATA mark.

         55.     Whether Plaintiffs’ use of the S&P 500 VEQTOR mark has priority over

 Defendants’ use of the S&P DATA mark.

         56.     Whether Plaintiffs’ use of the S&P AGGREGATE mark has priority over

 Defendants’ use of the S&P DATA mark.



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         57.     Whether Plaintiffs’ use of the S&P CAPITAL IQ mark has priority over

 Defendants’ use of the S&P DATA mark.

         58.     Whether Plaintiffs’ use of the S&P CHINA 500 mark has priority over

 Defendants’ use of the S&P DATA mark.

         59.     Whether Plaintiffs’ use of the S&P COMPOSITE 1500 mark has priority over

 Defendants’ use of the S&P DATA mark.

         60.     Whether Plaintiffs’ use of the S&P GIVI mark has priority over Defendants’ use

 of the S&P DATA mark.

         61.     Whether Plaintiffs’ use of the S&P GLOBAL mark has priority over Defendants’

 use of the S&P DATA mark.

         62.     Whether Plaintiffs’ use of the S&P GLOBAL MARKET INTELLIGENCE mark

 has priority over Defendants’ use of the S&P DATA mark.

         63.     Whether Plaintiffs’ use of the S&P HIGH YIELD DIVIDEND ARISTOCRATS

 mark has priority over Defendants’ use of the S&P DATA mark.

         64.     Whether Plaintiffs’ use of the S&P LTVC GLOBAL INDEX mark has priority

 over Defendants’ use of the S&P DATA mark.

         65.     Whether Plaintiffs’ use of the S&P PRISM mark has priority over Defendants’

 use of the S&P DATA mark.

         66.     Whether Plaintiffs’ use of the S&P STRIDE mark has priority over Defendants’

 use of the S&P DATA mark.

         67.     Whether Plaintiffs’ use of the S&P STRIDE TIPS-LOCKBOX mark has priority

 over Defendants’ use of the S&P DATA mark.




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         68.     Whether Plaintiffs’ use of the S&P U.S. RETIREE SPENDING INDEX mark has

 priority over Defendants’ use of the S&P DATA mark.

         69.     Whether Plaintiffs’ use of the S&P VEQTOR mark has priority over Defendants’

 use of the S&P DATA mark.

         70.     Whether Plaintiffs’ use of the S&P WCI mark has priority over Defendants’ use

 of the S&P DATA mark.

         71.     Whether there is a likelihood of confusion between each asserted mark and the

 S&P DATA mark.

         72.     The degree of similarity between each asserted mark and the S&P Data mark.

         73.     The strength of each asserted mark.

         74.     The price of the goods and other factors indicative of the care and attention

 expected of consumers when making a purchase.

         75.     The length of time Defendants have used the mark without evidence of actual

 confusion.

         76.     The intent of Defendants in adopting the S&P DATA mark.

         77.     The evidence of actual confusion between each asserted mark and S&P DATA

 mark and services provided in connection with it.

         78.     Whether the parties’ services, though not competing, are marketed through the

 same channels of trade and advertised through the same media.

         79.     The extent to which the targets of the parties’ sales efforts are the same.

         80.     The relationship of the services in the minds of consumers because of the

 similarity of functions.




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          81.     Whether other facts suggest that the consuming public might expect Plaintiffs to

 offer services in Defendants’ market or that Plaintiffs are likely to expand into that market.

          82.     Whether Defendants’ use of the S&P DATA mark dilutes each of the asserted

 marks.

          83.     Whether each asserted mark is famous.

          84.     The duration, extent, and geographic reach of advertising and publicity of each

 asserted mark.

          85.     The amount, volume, and geographic extent of sales of goods or services offered

 under each asserted mark.

          86.     The extent of actual recognition of each asserted mark.

          87.     Whether Defendants use the S&P DATA mark in interstate commerce.

          88.     Whether Defendants’ use of the S&P DATA mark began after each asserted mark

 became famous.

          89.     Whether Defendants’ use of the S&P DATA mark dilutes each asserted mark by

 lessening the capacity of each asserted mark to identify and distinguish goods or services.

          90.     The degree of similarity between the S&P DATA mark and each asserted mark.

          91.     The degree of inherent or acquired distinctiveness of each asserted mark.

          92.     The extent to which Plaintiffs are engaging in substantially exclusive use of each

 asserted mark.

          93.     The degree of recognition of each asserted mark.

          94.     Whether Defendants intended to create an association with each asserted famous

 mark.

          95.     Any actual association between the S&P DATA mark and each asserted mark.


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         96.     Whether there is unfair competition.

         97.     Whether Plaintiffs’ claims accrued before the limitations period.

         98.     Whether Plaintiffs inexcusably delayed bringing suit.

         99.     Whether Defendants suffered economic prejudice as a result of the delay.

         100.    Whether Defendants have suffered evidentiary prejudice as a result of the delay.

         101.    Whether Defendants enjoy a presumption of inexcusable delay and prejudice

 resulting from the delay.

         102.    Whether Plaintiffs can overcome the presumption of inexcusable delay and

 prejudice resulting from the delay.

         103.    Whether each of the asserted marks is a mark valid at common law under the law

 of the State of Delaware.

 V.      STATEMENT OF ISSUES OF LAW THAT REMAIN TO BE LITIGATED

         104.    The parties identify the following issues of law that remain to be litigated, along

 with citations to authorities relied upon by each party.

         A.      S&P’S STATEMENT OF ISSUES OF LAW THAT REMAIN TO BE
                 LITIGATED.

         105.    S&P submits the following issues of law that remain to be litigated. S&P reserves

 the right to modify or amend this Statement to the extent necessary to reflect any future rulings

 by the Court and to supplement or amend this Statement to respond to any new issues that may

 arise. This Statement of Issues of Law that Remain to be Litigated is based on issues that S&P

 Data identified in its Statement of Issues of Law that Remain to be Litigated. To the extent S&P

 Data advances issues of law not set forth in its Statement of Issues of Law That Remain to Be

 Litigated, S&P reserves the right to object to the introduction of such issues at trial and/or to

 respond with additional issues of law.

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         106.    By inclusion herein, S&P does not assume the burden of proof or production with

 regard to any statement of law.

         S&P’s Trademark Infringement, False Designation of Origin, Deceptive Trade
         Practices and Unfair Competition Claims:

         107.    S&P’s claims for infringement of a registered mark and false designation of origin

 in violation of 15 U.S.C. §§1114(1) and 1125(a)(1)(A), deceptive trade practices under 6 Del. C.

 § 2532(a)(2)-(3), and common law unfair competition under Delaware law are all governed by

 the same standards. See Sanofi-Aventis v. Advancis Pharm. Corp., 453 F. Supp. 2d 834, 847 n.2

 (D. Del. 2006); Chase Manhattan Bank, USA, N.A. v. Freedom Card, Inc., 333 F. Supp. 2d 239,

 244 n.13 (D. Del. 2004); Rockland Mortg. Corp. v. S’holders Funding, Inc., 835 F. Supp. 182,

 196-97 (D. Del. 1993). To prove these claims, S&P must show that it owns a valid mark and

 that S&P Data’s use of the S&P DATA mark is likely to create confusion concerning the origin

 of its services. Sanofi-Aventis, 453 F. Supp. 2d at 847 (citing, inter alia, Checkpoint Sys. v.

 Check Point Software Tech., 269 F.3d 270, 279 (3d Cir. 2001)).

         108.    S&P’s incontestable registrations, including Reg. No. 3,569,703 for the mark

 S&P alone, “create[] a conclusive presumption that [the] mark is valid and owned by the

 registrant, and that the registrant has the exclusive right to use the mark.” Am. Cruise Lines, Inc.

 v. HMS Am. Queen Steamboat Co. LLC, 223 F. Supp. 3d 207, 212 (D. Del. 2016) (citing 15

 U.S.C. § 1115(b)). Stated otherwise, because S&P’s registrations are incontestable, “validity,

 legal protectability, and ownership are proved.” Ford Motor Co. v. Summit Motor Prods., 930

 F.2d 277, 291 (3d Cir. 1991).

         109.    Accordingly, the S&P mark and the other marks protected by incontestable

 registrations cannot be challenged on grounds that they lack distinctiveness or secondary

 meaning. J.T. McCarthy, McCarthy on Trademarks and Unfair Competition (“McCarthy’s”)

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 § 32:145 (5th ed. 2021) (citing Park ‘N Fly, Inc. v. Dollar Park & Fly, Inc., 469 U.S. 189, 205

 (1985)). Because the registrations are incontestable, the conclusive evidence of validity,

 ownership and exclusive rights of these marks can only be challenged on the grounds reserved in

 15 U.S.C. §1065, none of which have been asserted by S&P Data here.

         110.    The Third Circuit assesses the likelihood of confusion using the following factors:

                 the degree of similarity between the owner's mark and the alleged infringing
                 mark; (2) the strength of the owner’s mark; (3) the price of the goods and other
                 factors indicative of the care and attention expected of consumers when making a
                 purchase; (4) the length of time the defendant has used the mark without evidence
                 of actual confusion arising; (5) the intent of the defendant in adopting the mark;
                 (6) the evidence of actual confusion; (7) whether the goods, competing or not
                 competing, are marketed through the same channels of trade and advertised
                 through the same media; (8) the extent to which the targets of the parties’ sales
                 efforts are the same; (9) the relationship of the goods in the minds of the
                 consumers, whether because of the near-identity of the products, the similarity of
                 function, or other factors; and (10) other facts suggesting that the consuming
                 public might expect the prior owner to manufacture a product in the defendant's
                 market, or expect a prior owner is likely to expand into the defendant’s market.

 Sanofi-Aventis, 453 F. Supp. 2d at 847-48 (citing, inter alia, Interpace Corp. v. Lapp, Inc., 721

 F.2d 460, 463 (3d Cir.1983)).

         111.    No single likelihood of confusion factor is determinative in the analysis, and each

 may be provided different weight depending upon the facts in question. Kos Pharms., Inc. v.

 Andrx Corp., 369 F.3d 700, 709 (3d Cir. 2004). Moreover, the “confusion” to be tested is not

 merely confusion as to product or as to source, but rather any confusion about whether there is

 any association between the parties, their products or services. Id. at 711. Such confusion may

 manifest itself at different levels and among different constituencies, including the parties’ direct

 customers and end user consumers who encounter the parties’ marks. See id. at 715 n.12

 (relevant classes of consumers of pharmaceuticals include doctors, nurses, pharmacists and

 patients); Country Floors, Inc. v. Gepner, 930 F.2d 1056, 1066 (3d Cir. 1991) (“[T]he trademark


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 law protects the entire gamut of purchasers, including retail consumers and members of the

 trade”); Acxiom Corp. v. Axiom, Inc., 27 F. Supp. 2d 478, 501 (D. Del. 1998) (Lanham Act

 protects both purchasers and non-purchasers, including investors, against confusion).

         112.    In addition, “initial interest confusion – i.e., confusion that creates initial customer

 interest without any sale completion – is actionable under the Lanham Act.” Gavrieli Brands

 LLC v. Soto Massini (USA) Corp., No. 18-cv-462, 2020 WL 1443215, at *5 (D. Del. Mar. 24,

 2020); see also McNeil Nutritionals, LLC v. Heartland Sweeteners, LLC, 511 F.3d 350, 358 (3d

 Cir. 2007). Such pre-sale confusion may result in confusion even among sophisticated

 purchasers by creating a “marketing advantage in the form of a foot in the door.” Acxiom, 27 F.

 Supp.2d at 497 (noting how certain marketing activities, such as cold calls from sales

 representatives, can create initial interest confusion).

         113.    In assessing likelihood of confusion, the “degree of similarity of the marks may

 be the most important of the ten factors in Lapp.” Fisons Horticulture, Inc. v. Vigoro Indus.,

 Inc., 30 F.3d 466, 476 (3d Cir. 1994); see also Kos, 369 F.2d at 712-13 (citation and internal

 quotation marks omitted) (“The single most important factor in determining likelihood of

 confusion is mark similarity.”).

         114.    Here, the dominant portion of each party’s mark is identical—S&P—which itself

 is indicative of the fact that “confusion is likely.” See Country Floors, Inc., 930 F.2d at 1065

 (internal citation omitted) (“When comparing two marks each must be viewed in its entirety,

 although ‘one feature of a mark may be more significant than other features, and it is proper to

 give greater force and effect to that dominant feature.’ When the dominant portions of the two

 marks are the same, confusion is likely.”). Indeed, the only difference between the marks S&P

 and S&P DATA is Defendants’ addition of the generic or descriptive word “Data,” which is


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 insufficient to distinguish between the parties’ marks. See Fisons, 30 F.3d at 477 (quoting

 McCarthy’s § 23:15[8] at 23-102 (3d ed. 1992)) (“‘[A] subsequent user may not avoid likely

 confusion by appropriating another’s entire mark and adding descriptive or non-descriptive

 matter to it.”). Instead, the addition of “Data” to S&P in fact heightens confusion because

 providing “data” is a significant part of Plaintiffs’ business. Cf. In re Mr. Recipe, LLC, 118 U.S.

 P.Q.2d 1084, 1090 (T.T.A.B. 2016) (“[W]hile there is no explicit rule that we find marks to be

 similar where Applicant’s mark contains in part the whole of the mark in the cited registration,

 the fact that the cited registered mark is incorporated in full in Applicant’s mark increases the

 similarity between the two because, in this case, the addition of the phrase ‘Devour Your

 Hunger’ calls to mind the shark from the JAWS movies.”).

         115.    Moreover, the fact that Plaintiffs use and promote a family of S&P Marks makes

 it likely members of the public may be more inclined to view services rendered in connection

 with the mark S&P DATA to be related to Plaintiffs. See Oriental Fin. Grp., Inc. v. Cooperativa

 De Ahorro Crédito Oriental, 832 F.3d 15, 29-30 (1st Cir. 2012) (“[C]onsumers are likely to

 recognize the pattern and conclude that COOP ORIENTAL and COOPERATIVA ORIENTAL -

 - two-word marks consisting of ORIENTAL and a descriptive term for financial services -- are

 members of the same family.”); J & J Snack Foods Corp. v. McDonald’s Corp., 932 F.2d 1460,

 1462-62 (Fed. Cir. 1991) (noting that “[t]he [Trademark Trial & Appeal] Board found that by

 extensive promotion and use McDonald’s has created public recognition of a family of marks

 wherein ‘Mc’ is combined with the generic name of a food product, and that the public has come

 to associate such marks with McDonald’s” and affirming refusal to register); Mine O’Mine, Inc.

 v. Calmese, 2:10-cv-43, 2011 WL 2728390, at *6 (D. Nev. July 12, 2011) (on summary

 judgment finding that “the Shaqtus mark falls within the scope of MOM’s family of Shaq


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 marks”), aff’d, 489 Fed. Appx. 175 (9th Cir. 2012); Chips ‘n Twigs, Inc. v. Chip-Chip, Ltd., 414

 F. Supp. 1003, 1016 (E.D. Pa. 1976) (“Moreover, the ‘CHIPS’ family of trademarks is

 completely arbitrary and fanciful as applied to wearing apparel; it has been used over a long

 period of time and has been extensively advertised. These considerations lead inescapably to the

 conclusion that the ‘CHIPS’ family of trademarks are strong marks and as such are entitled to

 protection from use of confusingly similar marks even on non-competing goods, especially

 where the goods are related in character.”); see also McCarthy’s § 23:61 (5th ed. 2021) (citation

 and internal quotation marks omitted) (“In comparing [the senior user’s] family of marks with

 [the junior user’s] mark, the question is not whether [the junior user’s] mark is similar to [the

 senior user’s] individual marks, but whether [the junior user’s] mark would be likely to be

 viewed as a member of [the senior user’s] family of marks.”).

         116.    “The strength of the owner’s mark is a measure of the mark’s distinctiveness,

 which is the mark’s tendency to identify the products or services sold ‘under the mark as

 emanating from a particular, although possibly anonymous source.” Acxiom, 27 F. Supp.2d at

 495-96 (citation and internal quotation marks omitted). A court makes an assessment of a

 trademark’s strength “by weighing both the conceptual and commercial aspects of its strength.”

 Id. at 496. As arbitrary marks supported by substantial marketplace recognition, the S&P Marks

 belong to the strongest category of marks. Id.; see New Balance Ath., Inc. v. USA New Bunren

 Int’l Co. Ltd. LLC, 424 F. Supp.3d 334, 348 (D. Del. 2019) (finding that “‘N’ marks are

 conceptually strong, because they are arbitrary” and “also commercially strong because New

 Balance[] has funded extensive advertising campaigns featuring the ‘N’ marks that has led to

 substantial sales.”); Rockland, 835 F. Supp. at 193 (“[P]laintiff’s mark is strong, not only

 because it is arbitrary and thus inherently distinctive, but also because its


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 consumer recognition value is high. The strength element, then, also tips the scales in favor of a

 finding of likelihood of confusion.”).

         117.    Defendants cannot rebut the potent evidence showing the commercial strength of

 the S&P Marks based on supposed third-party use. “‘[T]he significance of third-party

 trademarks depends wholly upon their usage’ such that the alleged infringer must present

 ‘evidence that these trademarks were actually used by third parties, that they were well promoted

 or that they were recognized by consumers.’” Elizabeth Taylor Cosmetics Co. v. Annick Goutal,

 S.A.R.L., 673 F. Supp. 1238, 1244 (S.D.N.Y. 1987) (quoting Scarves by Vera, Inc. v. Todo

 Imports Ltd., 544 F.2d 1167, 1173 (2d Cir. 1976)); see also Accu Pers., Inc. v. Accustaff, Inc.,

 823 F. Supp. 1161, 1167 (D. Del. 1993); Polymer Dynamics Inc. v. Cabot Corp., 13 U.S.P.Q.2d

 1220, 1223 (D. Del. 1989). Any such evidence is lacking in this case.

         118.    In cases such as the instant one, “[w]here both professionals and the general

 public are relevant consumers, ‘the standard of care to be exercised . . . will be equal to that of

 the least sophisticated consumer in the class.’” Kos, 369 F.3d at 716 (citation omitted); see also

 Ford Motor Co., 930 F.2d at 293 (citation omitted) (where buyer class includes both

 “‘professional buyers and consumers,” confusion “‘within the lowest stratum of “reasonably

 prudent buyers” may give rise to liability even if professional buyers in the market are not

 confused’”).

         119.    Moreover, otherwise scrupulous professionals may nonetheless be vulnerable to

 confusion, because professional expertise does not necessarily translate into skill at

 discriminating among brands. See Kos, 369 F.3d at 717. Stated otherwise, “‘the care with

 which consumers select a product does not impact the association they may make regarding

 sponsorship of another product or service; therefore even a high degree of care would have little


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 effect on confusion of sponsorship.” Id. (quoting 3A L. Altman, Callman on Unfair

 Competition, Trademarks & Monopolies § 21:10 & n. 139 (4th ed. 2003)). Thus, even where the

 parties sell “relatively expensive products and services to sophisticated and knowledgeable

 purchasers that typically involve relatively long sales cycles,” the methods of marketing can

 “contribute to a realistic situation where a sophisticated purchaser will mistakenly associate” the

 parties based on the similarity of their names. Acxiom, 27 F. Supp.2d at 497.

         120.    Indeed, the fact that there have already been several instances of actual confusion

 among even more sophisticated clients and/or potential clients of the parties is compelling proof

 supporting a likelihood of confusion in this case. Because “[e]vidence of actual confusion is

 frequently difficult to find . . . .[,] actual confusion is not necessary to demonstrate a likelihood

 of confusion.” Sabinsa Corp. v. Creative Compounds, LLC, 609 F.3d 175, 187 (3d Cir. 2010);

 see also Fisons, 30 F.3d at 472 (citation and internal quotation marks omitted) (“Proof of actual

 confusion is not necessary; likelihood of confusion is all that need be shown.”). However, “[t]he

 rarity of such evidence makes even a few incidents highly probative of the likelihood of

 confusion.” Kos, 369 F.3d at 720 (citation and internal quotation marks omitted).

         121.    Assessing the accused infringer’s intent “extends beyond asking whether a

 defendant purposely chose its mark to promote confusion,” and so “adequacy and care with

 which the defendant investigates and evaluates its proposed mark are highly relevant.” Sanofi-

 Aventis, 453 F. Supp. 2d at 852 (quoting, in part, Kos, 369 F.3d at 721). S&P’s registrations for

 the S&P Marks provided constructive notice of its rights in that mark. See 15 U.S.C. §1072

 (“Registration of a mark on the principal register provided by this Act . . . shall be constructive

 notice of the registrant’s claim of ownership thereof.”); B & B Hardware, Inc. v. Hargis Indus.,

 575 U.S. 138, 142 (2015) (quoting 15 U.S.C. § 1072) (“Registration is significant. . . .


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 Registration, for instance, serves as ‘constructive notice of the registrant’s claim of ownership’

 of the mark.”).

         122.      Moreover, Mr. Plashkes and Mr. Borts, the principals of S&P Data, were also on

 notice of S&P’s potential objections by virtue of prior complaints raised by McGraw-Hill, S&P’s

 predecessor, to the use of S&P DATA in Canada by Plashkes’ and Borts’ earlier company.

 Indeed, the evidence suggests that Defendants’ awareness of that prior objection influenced their

 decision to use the name SP Data when they formed their current company. For many years, SP

 Data was the only name referenced on the company website before Defendants eventually

 evolved such usage to S&P Data over time. See Flat Rate Movers, Ltd. v. FlatRate Moving &

 Storage, Inc., 104 F. Supp. 371, 378, 381 (S.D.N.Y. 2015) (finding bad faith when, in an earlier

 litigation between the parties, one of the individual defendants testified that the company did not

 use FLAT RATE on its trucks for its moving services in upstate New York to avoid confusion

 between the parties, but defendants nonetheless used FLAT RATE in New York and other

 locations after the conclusion of that earlier suit).

         123.      The parties’ services are offered to the same type of customers, including in some

 of the same industries, and those services also both result in regular exposure of the parties’

 marks to end user members of the consumer public interacting with the parties’ products or

 services. This overlap in the parties’ respective audiences enhances the likelihood of confusion.

 See Acxiom, 27 F. Supp. 2d at 501 (citing Lapp, 721 F.2d at 463-64) (“likelihood of confusion

 increases if the targets of the parties’ sales efforts are the same or are likely to be the same in the

 future”).

         124.      “Once a trademark owner demonstrates likelihood of confusion, it is entitled to

 injunctive relief.” Lapp, 721 F.2d at 462; see Trademark Modernization Act, 15 U.S.C.


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 § 1116(a) (Dec. 27, 2020) (amending 15 U.S.C. § 1116(a) to add the following: “A plaintiff

 seeking any such injunction shall be entitled to a rebuttable presumption of irreparable harm

 upon a finding of a violation identified in this subsection in the case of a motion for a permanent

 injunction . . . .”).

           S&P’s Trademark Dilution Claims Under Federal and Delaware State Law:

         125.      S&P also brings claims for dilution under the federal Lanham Act, 15 U.S.C.

 § 1125(c), and the Delaware Trademark Act, 6 Del. C. § 3313. “The federal cause of action for

 trademark dilution grants extra protection to strong, well-recognized marks even in the absence

 of a likelihood of consumer confusion . . . if the defendant’s use diminishes or dilutes the strong

 identification value associated with plaintiff’s famous mark.” Times Mirror Magazines Inc. v.

 Las Vegas Sports News, L.L.C., 212 F.3d 157, 163 (3d Cir. 2000), superseded by statute on

 other grounds.

         126.      The federal dilution statute provides:

                   Subject to the principles of equity, the owner of a famous mark that is distinctive,
                   inherently or through acquired distinctiveness, shall be entitled to an injunction
                   against another person who, at any time after the owner’s mark has become
                   famous, commences use of a mark or trade name in commerce that is likely to
                   cause dilution by blurring or dilution by tarnishment of the famous mark,
                   regardless of the presence or absence of actual or likely confusion, of competition,
                   or of actual economic injury.

 15 U.S.C. § 1125(c)(1). The Trademark Dilution Revision Act of 2006 (the “TDRA”) made

 clear that to obtain relief under the statute, a plaintiff need only prove a likelihood of, as opposed

 to actual, dilution. See, e.g., Levi Strauss & Co. v. Abercrombie & Fitch Trading Co., 633 F.3d

 1158, 1165 (9th Cir. 2010); Starbucks Corp. v. Wolfe’s Borough Coffee, Inc., 477 F.3d 765, 766

 (2d Cir. 2007).




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         127.    Similarly, to prevail on a claim for dilution under the Delaware Trademark Act,

 the plaintiff must establish a likelihood of dilution. Treasury Mgmt. Servs. v. Wall St. Sys. Del.,

 123 U.S.P.Q. 2d 1357, 1362 (D. Del. 2017). “Likelihood of dilution requires some mental

 association between the marks and can be defined as a blurring of a mark’s product identification

 or the tarnishment of the affirmative association a mark has come to convey.” Sanofi-Aventis,

 453 F. Supp.2d at 855 (citation and internal quotation marks omitted). However, unlike the

 federal dilution statute, the Delaware statute does not require the plaintiff’s mark to be famous,

 but simply requires proof of distinctiveness, which “typically is the same proof used to show

 inherent or acquired distinctiveness for infringement purposes under the Lanham-Act.” Id.

 (citation and internal quotation marks omitted).

         128.    A mark will be deemed famous for purposes of the Lanham Act’s dilution

 provision “if it is widely recognized by the general consuming public of the United States as a

 designation of source of the goods or services of the mark’s owner.” 15 U.S.C. § 1125(c)(2)(A).

 Among the factors a court can consider in determining whether a mark possess the requisite

 degree of recognition are the following:

         (i)     The duration, extent, and geographic reach of advertising and publicity of the
                 mark, whether advertised or publicized by the owner or third parties.

         (ii)    The amount, volume, and geographic extent of sales of goods or services offered
                 under the mark.

         (iii)   The extent of actual recognition of the mark.

         (iv)    Whether the mark was registered under the Act of March 3, 1881, or the Act of
                 February 20, 1905, or on the principal register.

 Id.; see also New Balance, 424 F. Supp.3d at 350.

         129.    The evidence here demonstrates that the S&P Marks have been long used and

 advertised throughout the country, have generated substantial sales for services offered under

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 such marks, are widely recognized as shown by the survey conducted by Hal Poret and are

 registered on the principal register and supports a finding of fame for purposes of the Lanham

 Act. See, e.g., New Balance, 424 F. Supp.3d at 350. Moreover, the inherent distinctiveness of

 the S&P Marks for purposes of S&P’s infringement claim, as shown by their numerous

 incontestable federal trademark registrations, amply establishes the requisite degree of

 distinctiveness to support a claim for dilution under the Delaware Trademark Act. See Sanofi-

 Aventis, 453 F. Supp.3d at 855.

         130.    Dilution by blurring under the Lanham Act “is association arising from the

 similarity between a mark or trade name and a famous mark that impairs the distinctiveness of a

 famous mark.” 15 U.S.C. § 1125(c)(2)(B). Even where there is no confusion between marks, a

 mark may dilute another mark by eroding its ability to serve as a powerful source identifier,

 causing “the identifying features of the plaintiff’s famous mark to become vague and less

 distinctive” and endangering the “capacity of [plaintiff’s] mark to continue to be strong and

 famous.” See Times Mirror, 212 F.3d at 168.

         131.    In assessing whether a dilution by blurring has occurred, courts may consider all

 relevant factors, including:

         (i)     The degree of similarity between the mark or trade name and the famous mark.

         (ii)    The degree of inherent or acquired distinctiveness of the famous mark.

         (iii)   The extent to which the owner of the famous mark is engaging in substantially
                 exclusive use of the mark.

         (iv)    The degree of recognition of the famous mark.

         (v)     Whether the user of the mark or trade name intended to create an association with
                 the famous mark.

         (vi)    Any actual association between the mark or trade name and the famous mark.


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 15 U.S.C. § 1125(c)(2)(B).

         132.    Much of the same evidence regarding the similarity of the parties’ marks and the

 distinctiveness and recognition of the S&P Marks considered for purposes of infringement also

 supports S&P’s claim for dilution. See New Balance, 424 F. Supp.3d at 351 (citation and

 internal quotation marks omitted) (noting the “substantial overlap between the factors for

 trademark dilution and trademark infringement”). Moreover, “[s]ubstantially exclusive use can

 be evidenced by federal registration of the trademark and significant enforcement efforts against

 unauthorized use.” Id.; see id. at 352 (noting plaintiff had “actively policed unauthorized use by

 sending cease and desist letters, filing lawsuits, and filing oppositions and cancellation petitions

 in the Trademark Trial and Appeal Board”). These factors here establish blurring under the

 Lanham Act, id., as well as the requisite “mental association” giving rise to dilution under the

 Delaware Trademark Act. Sanofi-Aventis, 453 F. Supp.2d at 855 (citation and internal quotation

 marks omitted).

         133.    Injunctive relief is available as a remedy for dilution. New Balance, 424 F.

 Supp.3d at 344 (quoting 15 U.S.C. § 1125(c)(1)) (emphasis removed) (“Under § 1125(c), an

 owner of a famous mark may obtain an injunction to stop ‘use of a mark or trade name in

 commerce that is likely to cause dilution by blurring or dilution by tarnishment of the famous

 mark.’”).

                                 S&P Data’s Affirmative Defenses

         134.    S&P Data asserts laches as an affirmative defense. The defense of laches requires

 that defendant prove “(1) inexcusable delay in instituting suit, and (2) prejudice resulting to




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 defendant from such delay.” See Univ. of Pittsburgh v. Champion Prods. Inc., 686 F.2d 1040,

 1044 (3d Cir. 1982).

         135.    “[T]he correct disposition of the equitable defense of laches can only be made by

 a close scrutiny of the particular facts and a balancing of the respective interests and equities of

 the parties, as well as of the general public.” Country Floors, 930 F.2d at 1066 (citation and

 internal quotation marks omitted).

         136.    Only where the delay is so “outrageous, unreasonable and inexcusable as to

 constitute a virtual abandonment of its right” will laches bar prospective injunctive relief. See

 Univ. of Pittsburgh, 686 F.2d at 1044; see also Sanofi-Aventis, 453 F. Supp.2d at 856. Such

 circumstances are generally limited to a “narrow class of cases” involving extended periods of

 delay, such as 100 years. Univ. of Pittsburgh, 686 F.2d at 1044. Otherwise, in the more typical

 case, laches may bar claims for damages but not for prospective injunctive relief. Id.; see also

 Sanofi-Aventis, 453 F. Supp.2d at 856; Medtronic AVE, Inc. v. Cordis Corp., 55 U.S.P.Q.2d

 1354, 1360 (D. Del. 2000); Mobilificio San Giacomo S.p.A. v. Stoffi, No. 96-cv-415, 1997 WL

 699299, at *7 (D. Del. Sept. 24, 1997). Because S&P has limited the relief sought here to

 prospective injunctive relief, the laches defense should not apply.

         137.    Because the Lanham Act does not have a statute of limitations, in assessing

 laches, a federal court “must look to state law to find the statute of limitations period most

 analogous to trademark infringement.” Sanofi-Aventis, 453 F. Supp. 2d at 855-56. In Delaware,

 the statute of limitations for an analogous state claim is three years. Id. at 856. If plaintiff’s

 claim is filed outside the statute of limitations, “the burden of proof shifts to the plaintiff to prove

 the absence of such prejudice to the defendant as would bar all relief.” Univ. of Pittsburgh, 686

 F.2d at 1045. In other words, even if the claim is filed outside the statute of limitations period,


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 laches may still be rebutted. See Gloster v. Relios, Inc., No. 02-cv-7140, 2006 WL 1737800, at

 *2 (E.D. Pa. June 26, 2006) (denying motion for reconsideration of denial of summary judgment

 order on laches, finding that on trademark dilution claim “a reasonable fact-finder could

 conclude that Gloster rebutted any presumption of laches”).

         138.    In assessing delay, a court may take into consideration “reasonable time

 consumed in objecting to the use and awaiting the defendant’s response” to a claim of

 infringement. See Restatement (Third) of Unfair Competition § 31, cmt c (1995). “Time spent

 in attempting to resolve a dispute is not counted towards laches because ‘Settlement of legal

 disputes is a highly favored course of conduct for which a party should be rewarded, not

 penalized.’” McCarthy’s § 31:15 (quoting Varitronics Sys. v. Merlin Equip., 682 F. Supp. 1203

 (S.D. Fla. 1988)).

         139.    The progressive encroachment doctrine renders S&P Data’s laches defense

 inapplicable here. Under that doctrine, laches will not apply in the trademark context where

 defendant’s conduct has changed quantitatively or qualitatively over time, resulting in a

 progressive encroachment upon plaintiff’s rights. See Univ. of Pittsburgh, 686 F.2d at 1046; see

 also Oriental Fin. Grp., Inc. v. Cooperativa De Ahorro Crédito Oriental, 698 F.3d 9, 21-24 (1st

 Cir. 2012) (“Oriental Fin. Grp. I”); Kellogg Co. v. Exxon Corp., 209 F.3d 562, 570-74 (6th Cir.

 2000); Kason Indus. v. Component Hardware Grp., Inc., 120 F.3d 1199, 1205-06 (11th Cir.

 1997); Amy’s Ice Creams, Inc. v. Amy’s Kitchen, Inc., 60 F. Supp. 3d 738, 743-44 (W.D. Tex.

 2014); Internet Specialities, W., Inc. v. ISPwest, No. 05-cv-3296, 2006 WL 4568073, at *3-4

 (C.D. Cal. Nov. 15, 2006); Thomasville Furniture v. Thomasville Cabinet Works, No. 92-cv-

 00383, 1992 U.S. Dist. Lexis 22599, at *17-19 (M.D.N.C. Oct. 1, 1992); see also McCarthy’s

 §31:20; Restatement (Third) of Unfair Competition §31, cmt c.


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         140.    Court have found the doctrine of progressive encroachment to apply when

 defendants have made changes to their mark over a period of time to more closely approximate

 plaintiff’s mark. See Urban Outfitters, Inc. v. BCBG Max Azria Grp., Inc., 511 F. Supp. 2d 482,

 509 (E.D. Pa. 2007) (finding that plaintiffs did not unreasonably delay in bringing suit when,

 since plaintiff’s first knowledge of defendants’ mark, defendants materially altered mark,

 actively promoted it for the first time, and produced goods in different segment under separate

 company name); Am. Eagle Outfitters, Inc. v. Am. Eagle Furniture, Inc., No. 11-cv-02242, 2013

 WL 6839815, at *10-11 (N.D. Ill. Dec. 27, 2013) (granting summary judgment motion

 dismissing laches defense because defendant progressively encroached on plaintiff’s mark;

 defendants initially sold furniture at wholesale under the name TITANIC FURNITURE and only

 some furniture was branded AE FURNITURE, but at a later period defendant sold furniture in

 retail stores with AMERICAN EAGLE FURNITURE signage); Sci Sys. v. Solidstate Controls,

 Inc., 748 F. Supp. 1257, 1262-63 (S.D. Ohio 1990) (stating “[c]hanges in a mark over the years

 and recent entry into the same marketing area can defeat a defense of laches” and denying

 motion for summary judgment on laches defense due to defendant’s progressive encroachment

 when defendant changed the presentation of its mark over the years, by removing a distinctive

 design from its mark and changing its colors, and entering a new market); Union Carbide Corp.

 v. Ever-Ready, Inc., 531 F.2d 366, 388-89 (7th Cir. 1976) (finding laches did not apply, despite

 19 year delay, when defendant did not market goods at issue under own name for majority of

 time period); The Hoover Co. v. W. Vacuum Bag Mfg., Inc., No. 63-cv-3566, 1964 WL 8146, at

 *10 (S.D.N.Y. May 11, 1964) (finding defendants progressively encroached on plaintiff’s mark

 when they “increased their emphasis on those and other indicia of ‘HOOVER’ origin, and

 progressively subordinated or concealed their own identity”); A.E. Staley Mfg. Co. v. Staley


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 Milling Co., 253 F.2d 269, 272-73, 275, 279 (7th Cir. 1958) (finding that defendant

 progressively encroached on plaintiff’s mark when defendant changed the wording and style of

 its mark over a period of decades and holding that plaintiff’s claim for an injunction was not

 prohibited by laches or estoppel due to progressive encroachment); Indep. Nail & Packaging Co.

 v. Stronghold Screw Prods., 205 F.2d 921, 927 (7th Cir. 1953) (finding defendant progressively

 encroached on plaintiff’s mark when it changed how the mark was presented to the public by

 changing its corporate name over time and holding that plaintiff’s claim for injunctive relief was

 not barred by laches); see also 3M v. Shurtape Techs., Inc., No. 98-cv-2134, 2001 WL 530551,

 at *6-7 (D. Minn. May 17, 2001) (9-year delay in bringing suit did not amount to inexcusable

 delay when defendant progressively encroached on defendant’s mark by changing the color and

 functionality of its product to more closely approximate that of plaintiff’s color trademark).

         141.    Where Defendants initially operated primarily under the name SP Data and

 gradually evolved over time to S&P Data, while also updating their logo to emphasize the “S&P”

 portion of the mark, expanding the locations out of which they operated and further developing

 their online presence under the S&P Data mark, the changed circumstances excuse S&P’s delay

 in seeking relief. See, e.g., Oriental Fin. Grp. I, 698 F.3d at 21-24; Urban Outfitters, 511 F.

 Supp. 2d at 509; Am. Eagle Outfitters, 2013 WL 6839815, at *10-11; Hoover, 1964 WL 8146, at

 *10.

         142.    Prejudicial reliance exists where “the defendant has done something it otherwise

 would not have done absent the plaintiff’s conduct.” See Conan Props., Inc. v. Conans Pizza,

 Inc., 752 F.2d 145, 153 (5th Cir. 1985). Delay standing alone does not bar relief. See McCarthy

 §31.12 & n.1) (citing numerous cases); Am. Home Prods. Corp. v. Chelsea Labs., Inc., 572 F.

 Supp. 278, 283 (D. N.J. 1982) (“In the absence of prejudice, delay is not laches.”). Prejudice can


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 be established by showing “economic prejudice or evidentiary prejudice.” Bayer Ag v. Sony

 Elecs., 229 F. Supp. 2d 332, 366 (D. Del. 2002) (discussion of laches in context of patent

 infringement suit), aff’d, 83 Fed. Appx. 334. “Economic prejudice arises where a defendant

 suffers the loss of monetary investments or incurs damages which would have been prevented if

 the plaintiff had failed suit earlier.” Id. “Evidentiary prejudice may arise where the delay has

 curtailed the defendant’s ability to present a full and fair defense on the merits due to the loss of

 evidence, the death of a witness, or the unreliability of memories.” Id. However, a defendant

 alleging evidentiary prejudice must “specifically point out the prejudice that they suffered from

 the alleged absence of witnesses or evidence. ‘Conclusory statements that there are missing

 witnesses, that witnesses’ memories have lessened, and that there is missing documentary

 evidence, are not sufficient.” Id. at 367-68 (citation omitted).

         143.    A mere expansion of its activities over time cannot alone establish prejudicial

 reliance. See Tisch Hotels, Inc. v. Americana Inn, Inc., 350 F.2d 609, 615 (7th Cir. 1965) (“If . .

 . prejudice could consist merely of expenditures in promoting the infringed name, then relief

 would have to be denied in practically every case of delay.”); Weight Watchers Int’l, Inc. v.

 Stouffer Corp., 744 F. Supp. 1259, 1287 (S.D.N.Y. 1990) (continued advertising does not

 establish prejudicial reliance). Moreover, prejudicial delay cannot be found when it would cost

 defendant little to remedy infringement. See Tri-Star Pictures, Inc. v. Unger, 14 F. Supp. 2d 339,

 361 (S.D.N.Y. 1998) (“[A]n infringing party does not suffer prejudice where it would cost little

 to remedy the infringement”).

         144.    Here, Defendants have no claim to economic prejudice. In 2007, S&P Data stated

 that “SP DATA” had greater brand equity in Canada, its marketing was negligible, and that it did

 not make much use out of its trade name. In 2015, a third-party marketing consultant engaged


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 by S&P Data to assist in redesigning its website concluded that S&P Data had low awareness in

 the U.S. and even recommended that the brand be renamed in the United States. And still to this

 day the CEO of S&P Data has called the company’s marketing “pretty negligible.” Defendants’

 CEO has additionally testified that the “DATA” portion of the mark was more important than the

 “S&P” portion historically and that the memorable portion of the S&P DATA name is “Data.”

 Accordingly, it would not be difficult to remedy the infringement by changing Defendants’ name

 to SP DATA, as that is the name and mark it went by for many years. See id.

         145.    Further, Defendants have not specifically claimed what evidentiary prejudice they

 have suffered from witnesses or documents that are allegedly missing. See, e.g., Bayer, 229 F.

 Supp. 2d at 368 (finding claim of prejudice due to the fact that one of the inventors was too sick

 to be deposed and attorney who prosecuted patent was deceased insufficient because defendant

 did not “identif[y] any testimony that only these witnesses could have provided and have not

 established to the Court’s satisfaction that the absence of these witnesses prejudiced their

 defense”; finding claim of prejudice due to the fact that documents were allegedly missing

 insufficient because defendant did not state why documents would contain information important

 to litigation and, “in the Court’s view, the extensive discovery in this case undermines any

 allegation that the Sony Defendant’s [sic] were prejudiced in their ability to mount a defense as a

 result of Bayer’s alleged delay in filing suit.”). Nor is it likely that any missing witness or

 document prevented Defendants from fully litigating this case. See id. Accordingly,

 Defendants’ claims of evidentiary prejudice are insufficient. See id. at 367-68.

         146.    The doctrine of laches also does not apply when defendants have deliberately

 infringed plaintiffs’ mark, acted in bad faith, or were otherwise aware of plaintiff’s objection to

 defendant’s use of the mark. See, e.g., Champagne Louis Roederer v. J. Garcia Carrion, S.A.,


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 569 F.3d 855, 859 (8th Cir. 2009) (“[C]ourts tend to reject a defendant’s assertion of the laches

 defense when the defendant knew that the plaintiff objected to the use of the mark.”); Hermes

 Int’l v. Lederer de Paris Fifth Ave., Inc., 219 F.3d 104, 107 (2d Cir. 2000); Coty Inc. v. Excell

 Brands, LLC, 277 F. Supp. 3d 425, 439 (S.D.N.Y. 2017); see also Lewis & Clark Outdoors, Inc.

 v. L.C. Indus., No. 07-cv-5164, 2009 WL 10673015, at *4 (W.D. Ark. July 22, 2009)

 (“[F]orewarning of a plaintiff’s objections generally prevents a defendant from making a laches

 defense”).

         147.    Finally, a court may find that, despite plaintiff’s delay, a defendant’s use of its

 mark will lead to inevitable or actual confusion and thus find that it is in the public’s interest to

 grant injunctive relief. See Angel Flight of Ga., Inc. v. Angel Flight Am., Inc., 522 F.3d 1200,

 1208 (11th Cir. 2008); Profitness Physical Therapy Ctr. v. Pro-Fit Orthopedic & Sports Physical

 Therapy P.C., 314 F.3d 62, 68 (2d Cir. 2002); Resorts of Pinehurst, Inc. v. Pinehurst Nat’l Corp.,

 148 F.3d 417, 423 (4th Cir. 1997); Kason Indus., 120 F.3d at 1207; Sara Lee Corp. v. Kayser-

 Roth Corp., 81 F.3d 455, 461 (4th Cir. 1996); see also McCarthy’s § 31:10 (citation omitted) (“If

 it is inevitable that a significant amount of confusion will probably be created by the junior

 user’s actions, a number of courts will find that the right of the public not to be confused and

 deceived outweighs the inequity to the junior user of the trademark owner’s delay in suing. For

 example, courts have held that where the likelihood of confusion is not ‘reasonably in doubt,’

 laches, estoppel and acquiescence may not be considered as factors.”).

         148.    Finally, S&P Data also asserts a statute of limitations defense. However, “[t]he

 Lanham Act does not contain a statute of limitations and instead subjects all claims to ‘the

 principles of equity,’ such as laches.” Kars 4 Kids Inc. v. Am. Can!, 8 F.4th 209, 220 (3d Cir.

 2021) (citation omitted). In any event, the statute of limitations does not provide a defense


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 against a prospective claim for injunctive relief under either federal or state law because there is

 a continuing tort as long as S&P Data’s infringing conduct persists. See, e.g., Lyons P’ship, L.P.

 v. Morris Costumes, Inc., 243 F.3d 789, 797 (4th Cir. 2001); vonRosenberg v. Lawrence, No.

 13-cv-587, 2018 WL 4039324, at *3 (D. S.C. Aug. 23, 2018); Springboards to Educ., Inc. v.

 Scholastic Book Fairs, Inc., No. 17-cv-0054, 2018 WL 1806500, at *8 (N.D. Tex. Apr. 17,

 2018); Gucci Am., Inc. v. Guess?, Inc., 868 F. Supp. 2d 207, 246, 257 (S.D.N.Y. 2012); Levi

 Strauss & Co. v. Papikian Enters., No. 10-cv-05051, 2011 WL 3739550, at *4 (N.D. Cal. Aug.

 24, 2011).

         B.      S&P DATA’S STATEMENT OF ISSUES OF LAW THAT REMAIN TO BE
                 LITIGATED.

         149.    S&P Data submits the following issues of law that remain to be litigated. S&P Data

 reserves the right to modify or amend this Statement to the extent necessary to reflect any future

 rulings by the Court and to supplement or amend this Statement to respond to any new issues that

 may arise. This Statement of Issues of Law that Remain to be Litigated is based on issues that

 S&P identified in its Statement of Issues of Law that Remain to be Litigated. To the extent S&P

 advances issues of law not set forth in its Statement of Issues of Law That Remain to Be Litigated,

 S&P Data reserves the right to object to the introduction of such issues at trial and/or to respond

 with additional issues of law.

         150.    By inclusion herein, S&P Data does not assume the burden of proof or

 production with regard to any statement of law.

                        Federal Trademark Infringement, False Designation of
                       Origin, Deceptive Trade Practices and Unfair Competition

         151.      S&P asserts claims for federal trademark infringement, false designation or origin,

 deceptive trade practices and unfair competition. “Federal trademark infringement, 15 U.S.C. §


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 1114(1)(a), and a false designation of origin claim, known more broadly as federal unfair

 competition, 15 U.S.C. § 1125(a)(1)(A), are measured by identical standards.” Louis Vuitton

 Malletier & Oakley, Inc. v. Veit, 211 F. Supp. 2d 567, 580 (E.D. Pa. 2002). Under these standards,

 a plaintiff must prove that: (1) it owns the mark; (2) the mark is valid and legally protectable; and

 (3) defendant’s use of the mark to identify goods or services is likely to create confusion. A & H

 Sportswear, Inc. v. Victoria’s Secret Stores, Inc., 237 F.3d 198, 210 (3d Cir. 2000); New Balance

 Athletics, Inc. v. USA New Bunren Int’l Co., 424 F.Supp.3d 334, 346 (D. Del. 2019). Federal

 registration is prima facie evidence of the ownership and validity of a mark. Lucent Info. Mgmt.,

 Inc. v. Lucent Techs., Inc., 186 F.3d 311, 315 (3d Cir. 1999). Federal registration also evidences

 the right to use the mark in commerce. Id.

         152.    The burden to prove likelihood of confusion lies with the plaintiff. Keurig, Inc. v.

 Strum Foods, Inc., 769 F. Supp. 2d 699, 707 (D. Del. 2011). The Third Circuit applies the Lapp

 test, which is “a qualitative inquiry.” A & H Sportswear, Inc., 237 F.3 d at 215. “[D]ifferent

 factors may properly be accorded different weights,” including no weight at all, “depending on the

 particular factual setting.” Id. The Lapp factors must be applied in the present case.

         153.    To determine whether there is a likelihood of confusion, the court must examine:

                        (1)     the degree of similarity between the owner’s mark and the alleged

                                infringing mark. Checkpoint Sys., Inc., 269 F.3d at 279. “[M]ark

                                similarity is not necessarily determinative of likely confusion,

                                particularly when the products do not directly compete.” Id. at

                                282;

                        (2)     the strength of the owner’s mark, which entails examining the “(1)

                                the mark’s distinctiveness or conceptual strength (the inherent


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                              features of the mark) and (2) its commercial strength (factual

                              evidence of marketplace recognition).” Freedom Card Inc., 432

                              F.3d at 472. “[C]ourts must look at the strength of the mark in the

                              industry in which infringement is alleged.” Checkpoint Sys., Inc.,

                              269 F.3d at 284;

                       (3)    the price of the goods and other factors indicative of the care and

                              attention one would expect when making a purchase. A & H

                              Sportswear, Inc., 237 F.3d at 215;

                       (4)    the length of time the defendant has used the mark without

                              evidence of actual confusion. Id. (citing inter alia, Lapp, Inc., 721

                              F.2d at 463;

                       (5)    the intent of the defendant in adopting the mark. Id.;

                       (6)    the evidence of actual confusion. Id.;

                       (7)    whether the goods, though not competing, are marketed through

                              the same channels of trade and advertised through the same media.

                              Id.;

                       (8)    the extent to which the targets of the parties’ sales efforts are the

                              same. Id.;

                       (9)    the relationship of the goods in the minds of consumers because of

                              the similarity of functions. Id.; and

                       (10)   other facts suggesting that the consuming public might expect the

                              prior owner to manufacture a product in the defendant’s market or

                              that he is likely to expand into that market. Id.


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         154.    The Third Circuit recognizes initial interest confusion within the context of the

 Lapp factors. Checkpoint Sys., Inc., 269 F.3d at 292. “Product relatedness and level of care

 exercised by consumers are relevant factors in determining initial interest confusion.” Id. at 296.

 Some initial confusion likely does not constitute free riding on the goodwill of another mark or

 harm the party alleging infringement. Id. at 296–97. “Where confusion has little or no meaningful

 effect in the marketplace, it is of little or no consequence in our analysis.” Id. at 297. Such a

 determination requires an analysis of the totality of the circumstances. Id.

                          The Delaware Deceptive Trade Practices Act

         155.     The Delaware Uniform Deceptive Trade Practices Act (“DDTPA”), 6 Del. C. §

 2531, prohibits causing a likelihood of confusion or of misunderstanding as to the source,

 sponsorship, approval, or” association with or certification of goods or services in violation of 6

 Del. C. § 2532(a)(2); causing a likelihood of confusion or of misunderstanding as to affiliation,

 connection or association with, or certification by, another in violation of 6 Del. C. § 2532(a)(3).

 6 Del. C. §§ 2531 et seq; Enzo Life Scis., Inc. v. Digene Corp., 295 F. Supp. 2d 424, 426 (D. Del.

 2003). “Courts reviewing DDTPA violations apply the same standards as they apply to trademark

 infringement claims (i.e., valid and protectable mark, plaintiff owns mark, and likelihood of

 confusion).” Treasury Mgmt. Servs., Inc. v. Wall St. Sys. Delaware, Inc., No. CV 16-283-SLR,

 2017 WL 1821114, at *5 (D. Del. May 5, 2017) (citing Keurig, Inc., 2012 WL 4049799, at *9).

 “[P]roof of a Lanham Act claim would necessarily meet the requirements for a claim under the

 DTPA.” Schering–Plough Healthcare Prod., Inc. v. Neutrogena Corp., 702 F. Supp. 2d 266, 272

 (D. Del. 2010); Treasury Mgmt. Servs., Inc., 2017 WL 1821114, at *5 (Robinson, J.).

                           Federal and Delaware State Dilution Laws




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         156.    S&P asserts federal and Delaware State dilution claims against S&P Data. To

 establish federal trademark dilution under U.S.C. § 1125(c), “the plaintiff must prove that: (1) it

 owns a mark that qualifies as “famous”; (2) the defendant is using the mark in interstate commerce;

 (3) defendant’s use began after plaintiff’s mark became famous; and (4) defendant’s use causes

 dilution by lessening the capacity of the plaintiff's mark to identify and distinguish goods or

 services.” New Balance Athletics, Inc., 424 F. Supp. 3d at 350.

         157.    Courts consider four factors when determining whether a mark is famous: (1) ‘[t]he

 duration, extent, and geographic reach of advertising and publicity of the mark’; (2) ‘[t]he amount,

 volumes, and geographic extent of sales of goods or services offered under the mark’; (3) ‘[t]he

 extent of actual recognition of the mark’; and (4) ‘[w]hether the mark was registered.’” Id. at 350

 (quoting 15 U.S.C. §§1125(c)(2)(A)).

         158.    Once a court determines these factors of fame, it must look to these six factors to

 determine whether dilution occurred: (1) ‘[t]he degree of similarity between the mark or trade

 name and the famous mark’; (2) ‘[t]he degree of inherent or acquired distinctiveness of the famous

 mark’; (3) ‘[t]he extent to which the owner of the famous mark is engaging in substantially

 exclusive use of the mark’; (4) ‘[t]he degree of recognition of the famous mark’; (5) ‘[w]hether

 the user of the mark or trade name intended to create an association with the famous mark’; and

 (6) ‘[a]ny actual association between the mark or trade name and the famous mark.’” New Balance

 Athletics, Inc., 424 F. Supp. 3d at 351 (quoting 15 U.S.C. § 1125(c)(2)(B)(i)-(vi)).

         159.    The burden lies with the plaintiff to show “evidence and proof of the timing of two

 events: when the plaintiff’s mark achieved that elevated status called ‘fame’ and when the

 defendant made its first use of the mark.” Chatam Int’l, Inc. v. Bodum, Inc., 157 F. Supp. 2d 549,

 560 (E.D. Pa. 2001), aff’d, 40 F. App’x 685 (3d Cir. 2002) (quoting 3 MCCARTHY ON TRADEMARK


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 AND UNFAIR COMPETITION      §24:96 (4th ed. 2000)); Times Mirror Mags., Inc. v. Las Vegas Sports

 News, L.L.C., 212 F.3d 157, 162-63 (3d Cir. 2000) (stating that the mark in question must become

 famous before the defendants begins to use the mark for plaintiff to be entitled to an injunction

 against defendant’s use). The reference to “such use” in §1125(c) refers to the “any” use by the

 defendant in commerce, not to the particular use being challenged in the litigation or whatever use

 the plaintiff finds objectionable. Nissan Motor Co. v. Nissan Computer Corp., 378 F.3d 1002,

 1012–13 (9th Cir. 2004). “This rule reflects the fair and equitable principle that one should not be

 liable for dilution by the use of a mark which was legal when first used. “ 4 MCCARTHY           ON

 TRADEMARKS AND UNFAIR COMPETITION § 24:103 (5th ed.).

         160.    The Delaware Trademark Act grants injunctive relief only where there is a

 “[l]ikelihood of injury to business reputation or of dilution of the distinctive quality of a mark

 registered under this chapter, or a mark valid at common law or a trade name valid at common

 law, shall be a ground for injunctive relief notwithstanding the absence of competition between

 the parties, or the absence of confusion as to the source of goods or services.” 6 Del. C. § 3313.

         161.    Though a plaintiff must only demonstrate that there is a likelihood of dilution, not

 actual dilution, to prevail on a DTA claim, a showing of “likelihood of dilution requires ‘some

 mental association between the marks’ and can be defined as a ‘blurring of a mark’s product

 identification or the tarnishment of the affirmative associations a mark has come to convey.’”

 Sanofi–Aventis, 453 F. Supp. 2d at 855 (quoting Barnes Grp. Inc. v. Connell Ltd. P’ship, 793 F.

 Supp. 1277, 1304 (D. Del. 1992)); Treasury Mgmt. Servs., Inc., 2017 WL 1821114, at *4–5. The

 plaintiff must demonstrate such mental association, blurring, or tarnishment of its marks through

 the testimony of its witnesses to prevail on its DTA claim. See Sanofi–Aventis, 453 F. Supp. 2d

 at 855. Where the record demonstrates that the defendant’s use of its marks is visually distinct


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 from the plaintiff’s marks, thus reinforcing the distinction between the provided goods and

 services, the plaintiff cannot succeed. Barnes Grp. Inc., 793 F. Supp. at 1304.

    S&P’s Claims Are Barred By The Doctrines Of Laches and the Statute of Limitations

         162.    Even if valid, S&P’s claims are barred by the doctrine of laches. “Laches is one of

 several defenses” available to a defendant when a court finds infringement and dilution. Sanofi–

 Aventis, 453 F. Supp. 2d at 855. The federal Lanham Act (15 U.S.C. § 1051 et seq.) expressly

 provides the equitable doctrine of laches as an affirmative defense to the incontestability of a

 registered mark. See 15 U.S.C. § 1115(b)(9) (“[C]onclusive evidence of the right to use the

 registered mark shall be subject to proof of infringement . . . and shall be subject to . . . equitable

 principles, including laches, estoppel, and acquiescence[.]”). It is well-settled that the doctrine of

 laches consists of two elements: (1) inexcusable delay in bringing suit and (2) prejudice to the

 defendant as a result of the delay. See Emerson Elec. Co., 2019 WL 1397244, at *3 (citing Santana

 Prod., Inc., 401 F.3d at 138). Plaintiffs did not serve an interrogatory seeking Defendants’

 contentions as to laches.

         163.    To successfully raise the affirmative defense of laches, the defendant must prove

 two elements: (1) the plaintiff inexcusably and unreasonably delayed in filing suit after the plaintiff

 knew or reasonably should have known its claim arose against the defendant; and (2) the defendant

 suffered material prejudice or injury due to the plaintiff’s delay. McKesson Info. Sols. LLC v.

 Trizetto Grp., Inc., 426 F. Supp. 2d 203, 208 (D. Del. 2006).

         164.    With regard to the first element, inexcusable delay, courts look to “the most

 analogous state statute of limitation” to determine the reasonableness of delay. Liqwd, Inc. v.

 L’Oreal USA, Inc., No. CV 17-14-JFB-SRF, 2019 WL 10252725, at *8 (D. Del. Apr. 30, 2019)

 (internal quotations omitted).


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         165.    As the Lanham Act contains no express statute of limitations for suits, courts must

 look to analogous state law to determine the appropriate statute of limitations period, as well as on

 the closely related questions of tolling and application of the statute of limitations. See Beauty

 Time, Inc., 118 F.3d at 144. The right to maintain a suit under the Lanham Act “occurs when the

 plaintiff receives some information that would cause a reasonable person to inquire into the

 situation further.” Newborn Bros. Co., Inc. v. Albion Eng'g Co., No. 12-2999, 2021 WL 1248490,

 at *2 (D.N.J. Apr. 5, 2021) (citing Symbol Techs., Inc. v. Proxim Inc., No. 01-801, 2004 WL

 1770290, at *3 (D. Del. July 28, 2004)). Therefore, the court must determine when a party knew

 or should have known of its claim under the Lanham Act to determine when the statute of

 limitations begins to run. See id. at *3 (finding that the statute of limitations started to run when

 the party was contacted regarding alleged infringing products and conducted an investigation in

 response); Kars 4 Kids Inc. v. Am. Can!, 8 F.4th 209, 221 (3d Cir. 2021) (finding the statute of

 limitations barred claims under the Lanham Act where wrongful conduct was discovered in 2003

 and claim was not brought until 2015).

         166.    Under Delaware law, the statute of limitations is three years. See Sanofi-Aventis,

 453 F. Supp. 2d at 855 (citing 6 Del. C. § 8106); Liqwd, Inc., 2019 WL 10252725, at *8 (“The

 most analogous statute of limitations to Lanham Act claims under Delaware law is the three-year

 statute of limitations for contract and related claims not involving personal injury under 10 Del. C.

 § 8106.”). Therefore, where a plaintiff has brought a claim under the Lanham Act more than three

 years after it arose, there is a “presumption of inexcusable delay and prejudice” in favor of the

 defendant. Emerson Elec. Co. v. Emerson Quiet Kool Co., No. CV 17-1846-LPS, 2019 WL

 1397244, at *3 (D. Del. Mar. 28, 2019) (quoting Santana Prod., Inc. v. Bobrick Washroom

 Equipment, Inc., 401 F.3d 123, 138 (3d Cir. 2005).


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         167.    The statute of limitations begins to run when the cause of action accrues, not when

 the injury is discovered. See Weiss v. Swanson, 948 A.2d 433, 451 (Del. Ch. 2008). In other

 words, the statute of limitations begins to run at the time of the alleged wrongful act, absent fraud,

 regardless if the plaintiff is ignorant of the cause of action. See Beauty Time, Inc. v. VU Skin

 Sys., 118 F.3d 140, 143-44 (3d Cir. 1997) (finding that the statute of limitations begins to run when

 “the right to institute and maintain the suit arises.”); In re Dean Witter P’ship Litig., 1998 WL

 442456, at *4 (Del. Ch. July 17, 1998) (same); EP Henry Corp. v. Cambridge Pavers, Inc., No.

 CV 17-1538 (JHR/KMW), 2019 WL 6712341, at *5 (D.N.J. Dec. 10, 2019) (holding that under

 the Lanham Act. The statute of limitations begins to run when the right to institute and maintain

 the suit, through the exercise of due diligence, arises).

         168.    Turning to the second element of a laches defense, a defendant can establish either

 evidentiary prejudice or economic prejudice. McKesson Info. Sols. LLC , 426 F. Supp. 2d at 208.

 Evidentiary prejudice is shown where the plaintiff’s inexcusable delay “curtailed the defendant’s

 ability to present a full and fair defense” due to circumstances such as loss of evidence or the

 unreliability of memories. Id. Evidentiary prejudice includes deceased witnesses. Id.; Joint Stock

 Soc’y v. UDV N. Am., Inc., 53 F. Supp. 2d 692, 717 (D. Del. 1999), aff’d, 266 F.3d 164 (3d Cir.

 2001); Kepner-Tregoe, Inc. v. Exec. Dev., Inc., 79 F. Supp. 2d 474, 491 (D.N.J. 1999), aff’d, 276

 F.3d 577 (3d Cir. 2001). Severe evidentiary prejudice occurs where the death of a witness who

 might clarify the issue at hand makes the relevant determination impossible. Joint Stock Soc’y,

 53 F. Supp. 2d at 721 n.31; Tenneco Auto. Operating Co. v. Visteon Corp., 375 F. Supp. 2d 375,

 381 (D. Del. 2005).

         169.    “Economic prejudice arises where a defendant suffers the loss of monetary

 investments or incurs damages which could have been prevented” if the action was filed without


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 delay. McKesson Info. Sols. LLC, 426 F. Supp. 2d at 208-209. Economic prejudice is determined

 by change in the economic position of the alleged infringer during the period of delay. Magnetar

 Techs. Corp. v. Six Flags Theme Parks Inc., 2014 WL 533425, at *6 (D. Del. Feb. 7, 2014). The

 Third Circuit has noted that “in the face of an unreasonable and inexcusable delay in filing suit,

 laches will operate to bar relief when the defendant has suffered either economic or evidentiary

 prejudice.” Joint Stock Soc’y, 53 F. Supp. 2d at 717 (citing Wanlass v. General Elec. Co., 148

 F.3d 1334, 1337 (Fed.Cir.1998)) (emphasis in original).

         170.    Once the statute of limitations expires, and the presumption of inexcusable delay

 and prejudice applies, the plaintiff has the burden to prove both that any delay was excusable and

 that the defendant would not face prejudice. Sanofi-Aventis, 453 F. Supp. 2d at 855 (emphasis

 added); see also Santana Prod., Inc., 401 F.3d at 140 (“In all of our cases addressing this issue, we

 have held that the plaintiff's burden to rebut the presumption of laches is conjunctive. Not once

 have we used the word ‘or.’”). Thus, a plaintiff’s claim is barred where it cannot prove both.

         171.    Progressive encroachment does not apply to ordinary business growth.

 “Progressive encroachment denotes some change in direction, such as expansion into different

 territories or into a different type of business. It must be something more than a normal expansion

 in quantity within its original line of business that most business will experience over time.” 6

 MCCARTHY ON TRADEMARKS § 31:20.

 VI.     EXHIBIT LISTS

         172.    S&P’s list of pre-marked exhibits S&P may offer (other than those to be used for

 impeachment) and S&P Data’s evidentiary objections thereto is attached as Exhibit A. S&P




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 Data’s list of pre-marked exhibits it may offer (other than those to be used for impeachment) and

 S&P’s evidentiary objections thereto is attached as Exhibit B.

         173.    The parties reserve the right to update their respective exhibit lists for good cause

 shown, by agreement of the parties, or as permitted by the Court; to use any exhibit from the other

 parties’ exhibit lists, any exhibit used at trial, and, for the purpose of impeachment, any exhibit,

 including items not listed; and to not introduce any exhibits from their respective exhibit lists.

         174.    In addition to the objections identified in the parties’ respective exhibit lists, the

 parties object to any document or exhibit identified on each other’s exhibit list that is affected by

 the ruling on Plaintiffs’ motion in limine. The parties reserve the right to make additional

 objections at trial as appropriate in light of the trial evidence and testimony, to make objections to

 exhibits not identified as part of pretrial disclosures, and to make appropriate use of any document

 listed by other parties, notwithstanding the objections lodged thereto.

         175.    S&P’s trial exhibits will be identified with PTX numbers, starting with PTX 1.

 S&P’s demonstrative exhibits will be identified with PDX numbers, starting with PDX 1. S&P’s

 physical trial exhibits will be identified with PPX numbers, starting with PPX 1. S&P Data’s trial

 exhibits will be identified with DTX numbers, starting with DTX 1. S&P Data’s demonstrative

 exhibits will be identified with DDX numbers, starting with DDX 1. S&P Data’s physical trial

 exhibits will be identified with DPX numbers, starting at DPX 1.

         176.    Each party may use an exhibit that is listed on the other party’s exhibit list, to the

 same effect as though it were listed on its own exhibit list, subject to evidentiary objections. Any

 exhibit, once admitted, may be used equally by any party. The inclusion of an exhibit on a party’s

 exhibit list does not indicate that the party agrees that the exhibit is authentic or admissible for any




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 or all purposes and does not waive any evidentiary or other objections to that exhibit should the

 opposing party attempt to offer it into evidence.

         177.    The parties will meet and confer in a further effort to resolve objections without the

 Court’s intervention.

         178.    The parties agree that any date listed on the exhibit list is not evidence of nor an

 admission of the date of the document, and that failing to list a date is neither evidence of nor an

 admission of whether the document is dated. The parties agree that any description of a document

 on an exhibit list is provided for convenience only and shall not be used as an admission or

 otherwise as evidence regarding that document.

         179.    Legible photocopies of documents may be offered and received in evidence in lieu

 of originals thereof, subject to all foundational requirements and other objections that might be

 made to the admissibility of originals and subject to the right of the party against which it is offered

 to inspect an original upon reasonable request in advance of any proposed use of the photocopy.

         180.    Documents that were exchanged in native format in discovery may be imaged for

 use with witnesses so long as the contents of the native document are preserved without substantive

 change (non-format changes). The parties will make available imaged copies of native trial

 exhibits for use with witnesses during the witness exhibit exchange described below.

         181.    The parties agree that the demonstrative exhibits the parties intend to use at trial do

 not need to be included on their respective lists of trial exhibits attached as Exhibits A and B. The

 parties further agree that they will identify and exchange demonstrative exhibits to be used in

 opening statements by 2:00 p.m. Eastern Time on Sunday, March 13, 2022, shall exchange any

 objections to these demonstrative exhibits by 6:00 p.m. Eastern Time on Sunday, March 13, 2022,

 and shall meet and confer on any objections prior to the beginning of opening statements on


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 Monday, March 14, 2022. If the parties cannot resolve their objections during any of the above

 meet and confers, they will submit the issue to the Court before trial starts each day.

         182.    These exhibit lists include exhibits that may not be introduced into evidence. A

 party’s failure to introduce any exhibit appearing on its list shall not be commented on during trial.

         183.    The parties request that, to the extent evidence is not admitted at the time of its use,

 counsel shall be permitted to move such evidence into evidence at other opportunities during the

 pendency of trial.

 VII.    WITNESSES AND DEPOSITION DESIGNATIONS

         184.    Plaintiffs may call the following witnesses to testify, either in person or by

 deposition, at the trial in its case-in-chief:

                 A.      Alice Cherry

                 B.      Anna Linne

                 C.      Kimberly Boyle

                 D.      Dan Plashkes

                 E.      David Borts

                 F.      Laura Albert

                 G.      Katherine Roome

                H.    Duncan Hall (representative of Internet Archive) by declaration pursuant
 to Fed. R. Evid. 901

                 I.      Dean Harris

                 J.      Hal Poret

         185.    S&P Data may call the following witnesses to testify, either in person or by

 deposition, at the trial in its case-in-chief:


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                 A.      Dan Plashkes

                 B.      David Borts

                 C.      Kimberly Boyle

                 D.      Alice Cherry

                 E.      Melissa Kinsley

                 F.      Anna Linne

                 G.      Katherine Roome

                 H.      Dean Harris

                 I.      Laura Albert

                 J.      Larry Chiagouris

         186.    Any witness not listed above is precluded from testifying during the parties’ case-

 in-chief, absent good cause shown, except that each party reserves the right to call rebuttal

 witnesses as may be necessary, on reasonable notice to the opposing party. No party shall be

 required to present testimony from any witnesses on its list of witnesses.

         187.    The parties agree that Plaintiffs’ case-in-chief shall not be deemed closed until they

 have had an opportunity to cross-examine Defendants’ witnesses, Dan Plashkes and David Borts,

 whom Defendants intend to call as live witnesses. Plaintiffs reserve the right to introduce excerpts

 from the depositions of Mr. Plashkes and/or Mr. Borts as part of their case-in-chief in the event

 that Defendants fail to call one of those witnesses to testify.

         188.    With respect to each side’s fact witnesses that they may call in person at trial who

 are also on the parties’ list of trial witnesses, the parties agree, for the convenience of the witnesses,

 that the parties may cross such live witnesses beyond the scope of their direct examination.




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         189.    All witnesses other than one corporate representative for each side and expert

 witnesses will be sequestered.

         190.    S&P’s deposition designations, S&P Data’s objections thereto, S&P Data’s

 counter-designations, S&P’s objections to those counter-designations, and S&P’s reply

 designations are attached as Exhibit C. S&P Data reserves its rights to object to counter-counter

 designations made by S&P.

         191.    S&P Data’s deposition designations, S&P’s objections thereto, S&P’s counter-

 designations, and S&P Data’s objections to those counter-designations are attached as Exhibit D.

 S&P reserves its rights to object to counter-counter designations made by S&P Data.

         192.    The parties agree to supplement the pre-trial order by submitting before trial each

 side’s deposition designations, objections, and counter-designations from the forthcoming

 deposition of Laura Albert.

         193.    All irrelevant and redundant material such as objections and colloquy between

 counsel will be eliminated when the deposition is read or viewed at trial to the extent feasible.

         194.    The parties may offer at trial some, all or none of the deposition testimony each has

 designated. A party’s decision not to introduce some or all of the testimony of a witness designated

 herein shall not be commented upon at trial.

         195.    Any deposition testimony may be used at trial for the purpose of impeachment or

 rebuttal regardless of whether a party identified that testimony in its designations, if the testimony

 is otherwise competent for such purpose.

         196.    To reduce the number of duplicative exhibits, where a deposition excerpt refers to

 a document by exhibit number and that identical document was also marked as a different exhibit

 number, a party may substitute one exhibit for another.


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         197.    In order to facilitate the scheduling of witnesses and trial time, the parties will

 identify their final lists of witnesses expected to testify live or by deposition two (2) calendar days

 before the direct examination is expected to take place, and will include the order in which the

 party intends to call the identified witnesses, as well as whether it intends to have the witness

 testify live or by deposition. The parties will make these disclosures in good faith but will not be

 bound by them. Further, the parties will identify the witnesses they expect to call the following

 day by 6:30 p.m. Eastern Time the day before the witness is expected to be called.

         198.    Except in the case of cross-examination or witnesses called adversely, the parties

 will identify exhibits, including demonstrative and native exhibits, to be used with each witness

 by 6:30 p.m. Eastern Time the day before the direct examination is expected to take place.

 Objections to any such exhibits shall be made by 9:30 p.m. Eastern Time that same day. The

 parties will meet and confer on any objections and will present any unresolved issues to the Court

 the morning of the proposed use of the disputed exhibit.

         199.    For each witness that will be called wholly or in part by deposition, the offering

 party will provide the other party with a list of final deposition designations from previously

 designated testimony by 6:00 p.m. Eastern Time two calendar days before any such deposition

 testimony is expected to be read or played in Court, and the previously identified objections,

 counter-designations, and objections to counter-designations will apply. The parties will meet and

 confer by 8:00 p.m. Eastern Time one (1) day before the deposition testimony is expected to be

 read or played in Court to resolve any objections to such designations and counter-designations.

 Once the parties have met and conferred, they will submit any remaining disputed designations for

 the Court’s consideration no later than 9:00 a.m. Eastern Time on the day that such deposition

 testimony is expected to be read or played in Court or at such other time as required by the Court,


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 including highlighted copies of the disputed materials and an itemized list of the remaining

 objections.

         200.    When deposition designation excerpts are introduced, all admissible deposition

 counter-designation and counter-counter-designation excerpts, whether offered by videotape or by

 transcript, will be introduced simultaneously in the sequence in which the testimony was originally

 given. Each party will be charged for the time taken to read or play its designations.

 VIII. PLAINTIFFS’ INTENDED PROOF OF AFFIRMATIVE CLAIMS
       AND RELIEF SOUGHT

         201.     S&P submits this brief statement of its intended proof and relief sought.          This

 statement is not intended to be exhaustive of all issues to be tried. In addition to the items identified

 below, S&P intends to prove the matters identified in its expert reports and depositions of expert

 witnesses. S&P also intends to offer proof on the issues of fact and issues of law identified by the

 parties in this Pre-Trial Order. S&P also intends to offer proof to rebut the items on which S&P

 Data offers proof, and S&P reserves the right to amend and supplement this statement in response

 to S&P Data’s pretrial activities.

         202.    S&P intends to establish through the evidence at trial that it owns valid trademarks

 in its family of S&P Marks, and that S&P Data’s use of S&P DATA in connection with its services

 causes a likelihood of confusion between the parties, their products and their marks.

         203.    S&P intends to establish through the evidence at trial that its S&P Marks are famous

 and were so prior to use of S&P DATA by Defendants and that Defendants’ use of S&P DATA

 blurs the distinctive quality of S&P's S&P Marks.

         204.    S&P will seek the following monetary relief at trial: Costs and attorney’s fees

 pursuant to 6 Del. C. §2004, 6 Del. C. §2533(b), and 15 U.S.C. § 1117(a).



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         205.    S&P will seek a permanent injunction prohibiting S&P Data from infringing and

 diluting the S&P Marks, including by using, promoting, advertising, displaying or exploiting in

 any way the S&P DATA name or mark or any other name or trademark that confusingly similar

 to the S&P Marks, in connection with any goods or services.

 IX.     DEFENDANTS’ INTENDED PROOF OF DEFENSES

         206.    S&P Data submits this brief statement of its intended proof. This statement is not

 intended to be exhaustive of all issues to be tried. In addition to the items identified below, S&P

 Data intends to prove the matters identified in its expert reports and depositions of expert

 witnesses. S&P Data also intends to offer proof on the issues of fact and issues of law identified

 by the parties in this Pre-Trial Order. S&P Data also intends to offer proof to rebut the items on

 which S&P offers proof, and S&P Data reserves the right to amend and supplement this statement

 in response to S&P’s pretrial activities.

         207.    S&P Data intends establish through evidence at trial that S&P does not have a

 recognizable family of marks.

         208.      S&P Data intends establish through evidence at trial that S&P cannot show that

 its marks satisfy the requirements for “fame” under the Lanham Act.

         209.    S&P Data intends to establish through evidence at trial that there is no likelihood

 of confusion between any of the asserted marks and the S&P DATA mark or the services provided

 in connection with it.

         210.    S&P Data intends to establish through the evidence at trial that S&P Data’s use of

 the S&P DATA mark does not blur the alleged distinctive quality of the asserted marks.




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         211.    S&P Data intends to establish through evidence at trial that it enjoys a presumption

 that S&P has unreasonably delayed bringing suit and caused S&P Data evidentiary and economic

 prejudice.

         212.    S&P Data intends to establish that S&P cannot carry its burden to show entitlement

 to a permanent injunction.

 X.      AMENDMENTS

         213.    S&P seeks to amend the Complaint to:

                 A.     Remove S&P INDICES (Reg. No. 3889706) from the list of pleaded S&P

 Marks (see ¶¶ 15-16 of the Amended Complaint, D.I. 14); and

                 B.     Delete its claim for monetary relief (damages or profits).

         214.    S&P Data does not object to these amendments.

         215.    S&P Data seeks to amend the Answer to remove the affirmative defenses of

 acquiescence and waiver. S&P does not object to these amendments.

 XI.     SETTLEMENT CERTIFICATION

         216.    The parties certify that they have engaged in a good faith effort to explore the

 resolution of the controversy by settlement but have not been able to resolve the case.

 XII.    ADDITIONAL MATTERS -- CONFIDENTIALITY AT TRIAL

         217.    The parties agree to follow the provisions in the Protective Order (D.I. 27) entered

 in this case except as modified herein.           The Protective Order, insofar as it restricts the

 dissemination and use of “Protected Material,” including documents marked “CONFIDENTIAL,”

 “HIGHLY CONFIDENTIAL,” or “CONFIDENTIAL-ATTORNEYS’ EYES ONLY” shall not

 apply to the introduction of evidence at trial.


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         218.    Plaintiffs’ position is that if a party believes that an exhibit or particular testimony

 requires special treatment because of its confidential nature, that party will raise the exhibit or

 testimony with the Court in advance and may request: (a) that the subject exhibit or testimony be

 sealed from the public; (b) that party representatives leave the courtroom during presentation of

 the exhibit or testimony in question; and/or (c) that the Court take such other protective measures

 as may be appropriate.

 XIII. ANY OTHER MATTERS WHICH THE PARTIES DEEM APPROPRIATE

         A.      Motions In Limine

         219.    S&P’s motion in limine #1, S&P Data’s opposition thereto, and S&P’s reply are

 attached hereto as Exhibit E.

         B.      Type of Trial

         220.    This trial is a bench trial. See, e.g., Sanofi-Aventis, 453 F. Supp. 2d at 842 (bench

 trial held in case seeking permanent injunction and cancellation of defendant’s mark).

         C.      Order of Proof

         221.    Unless the Court specifies otherwise, the order of presentation of evidence will

 generally follow the burden of proof, as stated below:

                 A.     Opening Statements (S&P first, followed by S&P Data);

                 B.     S&P’s presentation of evidence of its affirmative claims;

                 C.     S&P Data’s presentation of evidence rebutting S&P’s evidence of its

 affirmative claims, and presentation of evidence of affirmative defenses;

                 D.     S&P’s presentation of evidence rebutting S&P Data’s affirmative claims

 and evidence of affirmative defenses;


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                 E.     S&P Data’s presentation of evidence rebutting S&P’s evidence on S&P

 Data’s affirmative defenses.

 XIV. ORDER TO CONTROL COURSE OF ACTION

         222.    This order shall control the subsequent course of the action, unless modified by the

 Court to prevent manifest injustice.

         223.    The parties reserve the right to seek leave to supplement or amend this final pretrial

 order based on subsequent events or by agreement.

 Dated: February 14, 2021

  SMITH, KATZENSTEIN & JENKINS LLP                   RICHARDS, LAYTON & FINGER, P.A.

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